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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

IN RE:                                                 §
                                                       §
ELECTROTEK CORPORATION,                                §             CASE NO. 21-30409-mvl
                                                       §             Chapter 11
        Debtor.                                        §


                       DISCLOSURE STATEMENT FOR DEBTOR’S
                    PLAN OF REORGANIZATION DATED APRIL 26, 2021




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                                              ARTICLE I
                                            INTRODUCTION
        Identity of the Debtor

        1.01 Debtor filed a voluntary petition for reorganization under Chapter 11 of the United
States Bankruptcy Code, 11 U.S.C. Section 101, et seq. (“Code”) on March 8, 2021 in the United
States Bankruptcy Court for the Northern District of Texas, Dallas Division, initiating the above-
styled and referenced bankruptcy proceeding. The Debtor is operating its business as Debtor-in-
Possession pursuant to Sections 1107 and 1108 of the Code.

       Capitalized words in this Disclosure Statement shall have the meanings assigned to
them in the Debtor’s Plan of Reorganization.

        Purpose of This Disclosure; Source of Information

        1.02 The Debtor submits this Disclosure Statement pursuant to Section 1125 of the Code
to all known Claimants of Debtor for the purpose of disclosing that information which the Court
has determined is material, important, and necessary for Creditors of, and the Members of, Debtor
in order to arrive at an intelligent, reasonably informed decision in exercising the right to vote for
acceptance or rejection of the Debtor’s Plan. A copy of the Plan is attached hereto as Exhibit “A”
and incorporated herein by this reference. The Plan sets forth in detail the repayment arrangement
between the Reorganized Debtor and its creditors. This Disclosure Statement describes the
operations of the Reorganized Debtor contemplated under the Plan.

       The source of information for this Disclosure Statement is the Debtor’s management and
records and all filings in this case.

        Explanation of Chapter 11

        1.03 Chapter 11 is the principal reorganization chapter of the Code. Pursuant to Chapter
11, a debtor is authorized to reorganize its business for its own benefit and that of its creditors and
equity interest holders. Formulation of a plan of reorganization is the principal purpose of a
Chapter 11 reorganization case. A plan of reorganization sets forth the means for satisfying claims
against and interests in the debtor. After a plan of reorganization has been filed, it must be accepted
by holders of claims against, or interests in, the debtor. Section 1125 of the Code requires full
disclosure before solicitation of acceptances of a plan of reorganization. This Disclosure
Statement is presented to Claimants to satisfy the requirements of Section 1125 of the Code.

        Explanation of the Process of Confirmation

        1.04 Even if all Classes of Claims accept the plan, its confirmation may be refused by
the Court. Section 1129 of the Code sets forth the requirements for confirmation and, among other
things, requires that a plan of reorganization be in the best interests of Claimants. It generally
requires that the value to be distributed to Claimants and Equity Interest Holders may not be less
than such parties would receive if the debtor were liquidated under Chapter 7 of the Code.



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        1.05 Acceptance of the plan by the Creditors and Equity Interest Holders is important.
In order for the plan to be accepted by each class of claims, the creditors that hold at least two
thirds (2/3) in amount and more than one-half (2) in number of the allowed claims actually voting
on the plan in such class must vote for the plan and the equity interest holders that hold at least
two-thirds (2/3) in amount of the allowed interests actually voting on the plan in such class must
vote for the plan. Chapter 11 of the Code does not require that each holder of a claim against, or
interest in, the debtor vote in favor of the plan in order for it to be confirmed by the Court. The
plan, however, must be accepted by: (i) at least the holder of one (1) class of claims by a majority
in number and two-thirds (2/3) in amount of those claims of such class actually voting; or (ii) at
least the holders of one (1) class of allowed interests by two-thirds (2/3) in amount of the allowed
interests of such class actually voting.

       1.06 The Court may confirm the plan even though less than all of the classes of claims
and interests accept it. The requirements for confirmation of a plan over the objection of one or
more classes of claims or interests are set forth in Section 1129(b) of the Code.

        1.07 Confirmation makes the plan binding upon the Debtor and all claimants, equity
interest holders and other parties-in-interest, regardless of whether they have accepted the plan.

        Voting Procedures

       1.08 Unimpaired Classes. Class 6 Equity Interests are not Impaired under the Plan, and
are deemed to have accepted the Plan.

        1.09 Impaired Classes. The Class 1, 2 and 4 Claimants are Impaired as defined by
Section 1124 of the Code and may vote on the Plan. Class 3 and 5 Insider Claims are Impaired
and may vote on the Plan, but their votes will not count for or against Confirmation. The Debtor
is seeking the acceptance of the Plan by Classes 1, 2 and 4. Each holder of an Allowed Claim in
Classes 1, 2 and 4 may vote on the Plan by completing, dating and signing the ballot sent to each
holder and filing the ballot as set forth below. One ballot will be sent to each Claimant eligible to
vote on the Plan. For all Classes, the ballot must be returned to the Debtor’s attorney, Joyce
Lindauer, Attorney at Law, 1214 Main St., Suite 500, Dallas, Texas 75202, facsimile at (972) 503-
4034 and email at joyce@joycelindauer.com.. In order to be counted, ballots must be RECEIVED
no later than at the time and on the date stated on the ballot.

       1.10 Acceptances. Ballots that are signed and returned but fail to indicate either an
acceptance or rejection will not be counted.

        Best Interests of Creditors Test

        1.11 Section 1129(a)(7) of the Code requires that each impaired class of claims or
interests accept the Plan or receive or retain under the Plan on account of such claim or interest,
property of a value as of the Effective Date of the Plan, that is not less than the amount that such
holder would so receive or retain if the Debtor were liquidated under Chapter 7 of the Bankruptcy
Code. If Section 1111(b)(2) of the Code applies to the claims of such class, each holder of a claim
of such class will receive or retain under the Plan, on account of such claim, property of a value,


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as of the Effective Date of the Plan, that is not less than the value of such holder’s interest in the
estate’s interest in the property that secures such claims. In order for the Plan to be confirmed, the
Court must determine that the Plan is in the best interests of the Debtor’s creditors. Accordingly,
the proposed plan must provide the Debtor’s creditors with more than they would receive in a
Chapter 7 liquidation. Since the Plan proposes to pay all Secured creditors in full and pay a 10%
dividend to unsecured creditors on their Allowed Claims, the Debtor believes that the creditors are
receiving more than they would receive in a Chapter 7 liquidation. Accordingly, the Debtor
believes that the Plan satisfies the requirements of Section 1129(a)(7).

        Definition of Impairment

        1.12 As set forth in section 1124 of the Bankruptcy Code, a class of claims or equity
interests is impaired under a plan of reorganization unless, with respect to each claim or equity
interest of such class, the plan:

             leaves unaltered the legal, equitable, and contractual rights of the holder of such claim
             or equity interest; or

             notwithstanding any contractual provision or applicable law that entitles the holder of
             a claim or equity interest to demand or receive accelerated payment of such claim or
             equity interest after the occurrence of a default:

             cures any such default that occurred before or after the commencement of the case
             under the Bankruptcy Code, other than a default of a kind specified in section 365(b)(2)
             of the Bankruptcy Code; reinstates the maturity of such claim or interest as it existed
             before such default; compensates the holder of such claim or interest for any damages
             incurred as a result of any reasonable reliance on such contractual provision or such
             applicable law; and does not otherwise alter the legal, equitable or contractual rights to
             which such claim or interest entitles the holder of such claim or interest.

    Classification and Treatment of Claims and Interests

       1.13 The Plan classifies Claims separately in accordance with the Bankruptcy Code and
provides different treatment for different classes of Claims.

        1.14 Only holders of Allowed Claims are entitled to receive distributions under the Plan.
Allowed Claims are Claims that are not in dispute or have been litigated to a Final Order, are not
contingent, are liquidated in amount, and are not subject to objection or estimation. Initial
distributions or other transfers of Cash or other consideration specified in the Plan otherwise
available to the holders of Allowed Claims will be made on the Effective Date, or (b) the date on
which such Claim becomes an Allowed Claim), as otherwise provided in the Plan, or as may be
ordered by the Bankruptcy Court.

       1.15 In accordance with the Plan, unless otherwise provided in the Plan or the
Confirmation Order, the treatment of any Claim under the Plan will be in full satisfaction,
settlement, release, and discharge of and in exchange for each and every Claim.


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        Requirements for Confirmation of the Plan

       1.16 At the confirmation hearing, the Bankruptcy Court must determine whether the
Bankruptcy Code’s requirements for confirmation of the Plan have been satisfied, in which event
the Bankruptcy Court will enter an order confirming the Plan. As set forth in section 1129 of the
Bankruptcy Code, these requirements are as follows:

             The plan complies with the applicable provisions of the Bankruptcy Code.

             The proponents of the plan comply with the applicable provisions of the Bankruptcy
             Code.

             The plan has been proposed in good faith and not by any means forbidden by law.

             Any payment made or promised by the Debtor, by the plan proponents, or by a person
             issuing securities or acquiring property under the plan, for services or for costs and
             expenses in, or in connection with, the case, or in connection with the plan and incident
             to the case, has been approved by, or is subject to the approval of the Bankruptcy Court
             as reasonable.

             The proponent of the plan has disclosed the identity and affiliations of any individual
             proposed to serve, after confirmation of the plan, as a director, officer, or voting trustee
             of the Debtor, an affiliate of the Debtor participating in a joint plan with the Debtor, or
             a successor to the Debtor under the plan; and (B) the appointment to, or continuance
             in, such office of such individual, is consistent with the interests of creditors and equity
             security holders and with public policy; and the proponent of the plan has disclosed the
             identity of any insider that will be employed or retained by the reorganized Debtor, and
             the nature of any compensation for such insider.

             Any governmental regulatory commission with jurisdiction, after confirmation of the
             plan, over the rates of the Debtor has approved any rate change provided for in the plan,
             or such rate change is expressly conditioned on such approval.

             With respect to each impaired class of claims or interests:

             (i) each holder of a claim or interest of such class has (A) accepted the plan or (B) will
             receive or retain under the plan on account of such claim or interest property of a value,
             as of the effective date of the plan, that is not less than the amount that such holder
             would so receive or retain if the Debtor were liquidated on such date under chapter 7
             of the Bankruptcy Code on such date; or (ii) if section 1111(b)(2) of the Bankruptcy
             Code applies to the claims of such class, the holder of a claim of such class will receive
             or retain under the plan on account of such claim property of a value, as of the effective
             date of the plan, that is not less than the value of such holder’s interest in the estate’s
             interest in the property that secures such claims.



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             With respect to each class of claims or interests:

                 (i)      such class has accepted the plan; or

                 (ii)     such class is not impaired under the plan.

             Except to the extent that the holder of a particular claim has agreed to a different
             treatment of such claim, the plan provides that:

                 (i)     with respect to a claim of a kind specified in section 507(a)(1) or 507(a)(2)
                 of the Bankruptcy Code, on the effective date of the plan, the holder of such claim
                 will receive on account of such claim cash equal to the allowed amount of such
                 claim;

                 (ii)    with respect to a class of claims of a kind specified in section 507(a)(3),
                 507(a)(4), 507(a)(5) or 507(a)(6) of the Bankruptcy Code, each holder of a claim
                 of such class will receive: (i) if such class has accepted the plan, deferred cash
                 payments of a value, as of the effective date of the plan, equal to the allowed amount
                 of such claim; or (ii) if such class has not accepted the plan, cash on the effective
                 date of the plan equal to the allowed amount of such claim; and

                 (iii) with respect to a claim of a kind specified in section 507(a)(7) of the
                 Bankruptcy Code, the holder of a claim will receive on account of such claim
                 deferred cash payments, over a period not exceeding six years after the date of
                 assessment of such claim, of a value, as of the effective date of the plan, equal to
                 the allowed amount of such claim.

             If a class of claims is impaired under the plan, at least one class of claims that is
             impaired has accepted the plan, determined without including any acceptance of the
             plan by any insider holding a claim of such class.

             Confirmation of the plan is not likely to be followed by the liquidation, or the need for
             further financial reorganization, of the Debtor or any successor to the Debtor under the
             plan, unless such liquidation or reorganization is proposed in the plan.

             All fees payable under 28 U.S.C. § 1930, as determined by the Bankruptcy Court at the
             hearing on confirmation of the plan, have been paid or the plan provides for the
             payments of all such fees on the effective date of the plan.

             The plan provides for the continuation after its effective date of payment of all retiree
             benefits, as that term is defined in section 1114 of the Bankruptcy Code, at the level
             established pursuant to subsection (e)(1)(B) or (g) of section 1114, at any time prior to
             confirmation of the plan, for the duration of the period the Debtor has obligated itself
             to provide such benefits.




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             The Debtor believes that the Plan satisfies all the statutory requirements of chapter 11
             of the Bankruptcy Code, that The Debtor has complied with or will have complied with
             all the requirements of chapter 11, and that the Plan is proposed in good faith.

             At the Confirmation Hearing, the Bankruptcy Court will determine whether holders of
             Allowed Claims or Allowed Equity Interests would receive greater distributions under
             the Plan than they would receive in a liquidation under chapter 7.

             The Debtor believes that the feasibility requirement for confirmation of the Plan is
             satisfied by the fact that the future operating revenues will be sufficient to satisfy the
             obligations under the Plan in addition to supporting sustainable growth of the
             enterprise. These facts and others demonstrating the confirmability of the Plan will be
             shown at the Confirmation Hearing.

             Cramdown

       1.17     The bankruptcy court may confirm a plan of reorganization even though fewer than
all the classes of impaired claims and interests accept it. For a plan of reorganization to be
confirmed despite its rejection by a class of impaired claims or interests, the proponents of the plan
must show, among other things, that the plan does not “discriminate unfairly” and that the plan is
“fair and equitable” with respect to each impaired class of claims or interests that has not accepted
the plan.

       1.18     “Fair and equitable” has different meanings with respect to the treatment of secured
and unsecured claims. As set forth in section 1129(b)(2) of the Bankruptcy Code, those meanings
are as follows:

With respect to a class of secured claims, the plan provides:

       (a)(i) that the holders of such claims retain the liens securing such claims, whether the
       property subject to such liens is retained by the Debtor or transferred to another entity, to
       the extent of the allowed amount of such claims; and

       (ii) that each holder of a claim of such class receive on account of such claim deferred cash
       payments totaling at least the allowed amount of such claim, of a value, as of the effective
       date of the plan, of at least the value of such holder’s interest in the estate’s interest in such
       property;

       (b) for the sale, subject to section 363(k) of the Bankruptcy Code, of any property that is
       subject to the liens securing such claims, free and clear of such liens, with such liens to
       attach to the proceeds of such sale, and the treatment of such liens on proceeds under clause
       (a) and (b) of this subparagraph; or

       (c) the realization by such holders of the “indubitable equivalent” of such claims.




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With respect to a class of unsecured claims, the plan provides(a) that each holder of a claim of
such class receive or retain on account of such claim property of a value, as of the effective date
of the plan, equal to the allowed amount of such claim; or

       (b) the holder of any claim or interest that is junior to the claims of such class will not
       receive or retain under the plan on account of such junior claim or interest any property,
       except that in a case in which the debtor is an individual, the debtor may retain property
       included in the estate under section 1115 subject to the requirements that a) the value, as of
       effective date of the plan, of the property to be distributed under the plan on account of such
       claim is not less than the amount of such claim; or (b) the value of property to be distributed
       under the plan is not less than the projected disposable income of the debtor (as defined in
       section 1325(b)(2)) to be received during the 5-year period beginning on the date that the
       first payment is due under the plan, or during the period for which the plan provides
       payments, whichever is longer.

With respect to a class of interests, the plan provides:

       (a) that each holder of an interest of such class receive or retain on account of such interest
       property of a value, as of the effective date of the plan, equal to the greatest of the allowed
       amount of any fixed liquidation preference to which such holder is entitled, any fixed
       redemption price to which such holder is entitled or the value of such interest; or

       (b) that the holder of any interest that is junior to the interests of such class will not receive
       or retain under the plan on account of such junior interest any property.

      1.19     In the event that one or more classes of Impaired Claims reject the Plan, the
Bankruptcy Court will determine at the Confirmation Hearing whether the Plan is fair and
equitable with respect to, and does not discriminate unfairly against, any rejecting Impaired class
of Claims. The absolute priority rule requires that prior to the Debtor retaining or receiving any
non-exempt property the senior classes of claims must be paid in full or vote to accept the Plan.

       The Debtor believes the Plan does not discriminate unfairly against, and is fair and equitable
with respect to, each Impaired class of Claims.

                                             ARTICLE II
                                          REPRESENTATIONS

         2.01 This Disclosure Statement is provided pursuant to Section 1125 of the Code to all
the Debtor’s known Creditors and other parties in interest in connection with the solicitation of
acceptance of its Plan of reorganization, as amended or modified. The purpose of this Disclosure
Statement is to provide such information as will enable a hypothetical, reasonable investor, typical
of the holders of Claims, to make an informed judgment in exercising its rights either to accept or
reject the Plan.

       2.02 The information contained in this Disclosure Statement has been derived from
information submitted by the Debtor, unless specifically stated to be from other sources.


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         2.03 No representations concerning the Debtor are authorized by the Debtor other than
 those set forth in this Disclosure Statement. The Debtor recommends that any representation or
 inducement made to secure your acceptance or rejection of the Plan which is not contained in this
 Disclosure Statement should not be relied upon by you in reaching your decision on how to vote
 on the Plan. Any representation or inducement made to you not contained herein should be
 reported to the attorneys for the Debtor who shall deliver such information to the Court for such
 action as may be appropriate.

       2.04 ANY BENEFITS OFFERED TO THE CREDITORS ACCORDING TO THE
 PLAN WHICH MAY CONSTITUTE “SECURITIES” HAVE NOT BEEN APPROVED OR
 DISAPPROVED BY THE UNITED STATES SECURITIES AND EXCHANGE COMMISSION
 (“SEC”), THE TEXAS SECURITIES BOARD, OR ANY OTHER RELEVANT
 GOVERNMENTAL AUTHORITY IN ANY STATE OF THE UNITED STATES. IN
 ADDITION, NEITHER THE SEC, NOR ANY OTHER GOVERNMENTAL AUTHORITY HAS
 PASSED UPON THE ACCURACY OR ADEQUACY OF THIS DISCLOSURE OR UPON THE
 MERITS OF THE PLAN. ANY REPRESENTATIONS TO THE CONTRARY MAY BE A
 CRIMINAL OFFENSE.

      2.05 THE INFORMATION CONTAINED HEREIN HAS NOT BEEN SUBJECT TO
 A CERTIFIED AUDIT. FOR THE FOREGOING REASON, AS WELL AS BECAUSE OF THE
 IMPOSSIBILITY OF MAKING ASSUMPTIONS, ESTIMATES AND PROJECTIONS INTO
 THE FUTURE WITH ACCURACY, THE DEBTOR IS UNABLE TO WARRANT OR
 REPRESENT THAT THE INFORMATION CONTAINED HEREIN IS COMPLETELY
 ACCURATE, ALTHOUGH EVERY REASONABLE EFFORT HAS BEEN MADE TO
 ENSURE THAT SUCH INFORMATION IS ACCURATE. THE APPROVAL BY THE COURT
 OF THIS DISCLOSURE DOES NOT CONSTITUTE AN ENDORSEMENT BY THE COURT
 OF THE PLAN OR GUARANTEE THE ACCURACY OR COMPLETENESS OF THE
 INFORMATION CONTAINED HEREIN.

      2.06 THE DEBTOR BELIEVES THAT THE PLAN WILL PROVIDE CLAIMANTS
 WITH MORE THAN THEY WOULD RECEIVE IN A LIQUIDATION OF THE DEBTOR’S
 ASSETS, AND SHOULD BE ACCEPTED. CONSEQUENTLY, THE DEBTOR URGES THAT
 CLAIMANTS VOTE FOR THE PLAN.

       2.07 THE DEBTOR DOES NOT WARRANT OR REPRESENT THAT THE
 INFORMATION CONTAINED HEREIN IS CORRECT, ALTHOUGH GREAT EFFORT HAS
 BEEN MADE TO BE ACCURATE.       THE STATEMENTS CONTAINED IN THIS
 DISCLOSURE ARE MADE AS OF THE DATE HEREOF UNLESS ANOTHER TIME IS
 SPECIFIED HEREIN.




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                                         ARTICLE III
                              FINANCIAL PICTURE OF THE DEBTOR

           3.01   History and Background of the Debtor, Events Leading to Bankruptcy Case

         Electrotek is a manufacturer and supplier of printed circuit boards, operating since 1968.
 The Debtor’s plant and daily operations are located in Oak Creek, Wisconsin, and its principal
 offices are located in Carrollton, Texas.

         In February 2021, a judgment was entered against the Debtor in the case of TKO Miller,
 LLC v. Electrotek Corporation, Case No. 2021-cv-000091 in Milwaukee County Circuit Court,
 Milwaukee, Wisconsin. This judgement resulted in a garnishment of the Debtor’s bank accounts
 in the amount of $165,995.80.

           The Debtor’s business has been negatively affected by COVID, litigation, supply chain
 delays.

           3.02   Assets.

           The Debtor scheduled the following Assets owned as of the Petition Date:

                  Real property                                                  $2,500,000
                  Cash on hand and in bank accounts                              $343,866
                  Deposits and prepayments                                       $150,906
                  Accounts receivable                                            $1,147,002
                  Inventory                                                      $1,434,831
                  Office furniture, fixtures, and equipment                      $40,000
                  Machinery and equipment                                        $750,000
                  All other assets                                               $740,000

                            Total Assets                                         $7,106,605

        Such Assets are listed in detail on the Debtor’s Schedule B, which is attached hereto as
 Exhibit “B”.

           3.03   Liabilities.

          According to the Debtor’s Schedules and the Proofs of Claim filed in his Case, the Debtor’s
 liabilities, both Disputed and undisputed (excluding Administrative Expense Claims) totaled
 $12,647,663.84 as of the Petition Date.

           The Debtor’ liabilities are further described as follows:

                  a.        Administrative Expense Claims.

       The Estates will be liable for certain Administrative Expense Claims pursuant to
 Bankruptcy Code §503(b) through the Confirmation Date, including Fee Claims of Joyce W.

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 Lindauer Attorney, PLLC as the Debtor’s bankruptcy counsel. Before the Debtor pays any Fee
 Claims, the Bankruptcy Court will have determined the reasonableness of such fees and expenses.

             McMaster-Carr Supply Company filed an Administrative Expense Claim for $989.89.

                  b.       Priority Tax Claims.

           The Internal Revenue Service filed a Priority Tax Claim in the amount of $2,339.07.

                  c.       Priority Wage Claims.

           The Debtor scheduled Priority Wage Claims in the amount of $288,326.00.

      A Priority Wage Claim was filed by Valley Labs, Inc. in the amount of $13,650.00.
 However, Valley Labs, Inc. does not qualify as a Priority Wage Claimant.

                  d.       Other Priority Claims.

           Uline filed a Priority Claim of an unspecified type in the amount of $8,270.46.

                  e.       Secured Claims.

       The Debtor scheduled Dhirajal Babaria with three Secured Claims totaling $9,500,000.00.
 Mr. Babaria is an owner and the CEO of the Debtor and is an Insider.

        The Carrollton-Farmers Branch Independent School District filed a Secured Claim for
 $6,147.14.

                  f.       General Unsecured Claims.

        According to the Schedules and Proofs of Claims on file, the Debtor owes total Unsecured
 Claims of $2,978,197.00 as of the Petition Date.
                  Current Operations

        3.04 The Debtor’s current operations are reflected in its monthly operating reports filed
 with the Court, which are attached hereto as Exhibit “C”.

                  Future Income and Expenses Under the Plan

           3.05   The Debtor’s projections of Plan payments are set forth on Exhibit “D” attached
 hereto.

           Future management of the Debtor shall consist of the Debtor’s current management and
 staff.




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                  Source of Information for Disclosure Statement

        3.06 The source of information for this Disclosure Statement is the Debtor and its
 records, as well as the filings in this case.

                                            ARTICLE IV
                                       LIQUIDATION ANALYSIS

                 Section 1129(a)(7) of the Bankruptcy Code requires that a Chapter 11 plan of
 reorganization must provide at least as much value to each Impaired Creditor as could be realized
 in a liquidation under Chapter 7 of the Bankruptcy Code.

         In determining whether the requirements of Section 1129(a)(7) of the Bankruptcy Code
 have been met, the first step is to determine the dollar amount that would be generated from a
 hypothetical liquidation of the Debtor’s assets in Chapter 7. Such amounts must then be reduced
 by the costs and expenses of the liquidation. Further reductions would be required to eliminate
 cash and asset liquidation proceeds that would be applied to Secured Claims and amounts
 necessary to satisfy Priority Claims that are senior to general Unsecured Claims (and
 Administrative Expense Claims that may result from the termination of the Debtor’s business and
 the liquidation of its assets).

         Liquidation Analysis

        Liabilities shown below are as scheduled by the Debtor, unless the Claimant has filed a
 proof of claim stating a different amount.

         The Debtor estimates that the value of the Real Property in a forced liquidation sale, such
 as a foreclosure under Texas law, would yield net proceeds of approximately 75% of the market
 value as scheduled by the Debtor.

         The Debtor estimates that the value of all personal property, i.e., receivables, furniture,
 fixtures, machinery, equipment and inventory, would be approximate one-half of market value as
 scheduled by the Debtor.

         Assets

         Real property (75% market value)                                               $1,875,000
         Cash on hand and in bank accounts                                              $343,866
         Deposits and prepayments                                                       $150,906
         All personal property (1/2 market value)                                       $ 2,055,917
         Less 5% liquidation costs for real property                                    <$93,750.00>

                  Total Assets                                                          $ 4,331,939.00




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         Liabilities

         Administrative Expenses and UST Fees                                           $10,0001
         Priority Tax Claims                                                            $2,339
         Priority Wage Claims                                                           $288,326
         Other Priority Claims                                                          $8,270
         Secured Claims of Dhirajal Babaria                                             $9,500,000
         Secured Claims of Carrollton/FB ISD                                            $6,147
         General Unsecured Claims                                                       $2,978,197
         Equity Interests

                  Total Liabilities                                                     $ 12,793,279

 TOTAL ASSETS LESS TOTAL LIABILITIES                                                    <$ 8,461,340>

 NOTE: Under the above liquidation analysis, only Administrative, Priority and Secured
 Claims would receive distributions in a Chapter 7 case. Unsecured Claims would receive
 nothing in Chapter 7. Under this Plan; however, Unsecured Claimants will receive 20% of
 their Claims. This Plan does not contemplate a liquidation of the Assets.

                                           ARTICLE V
                                       SUMMARY OF THE PLAN

       The Debtor designates the following Classes of Claims and Interests pursuant to
 Bankruptcy Code Section 1123.

         Class 1 Claims: Allowed Priority Claims other than Priority Tax or Wage Claims.

         Class 2 Claims: Allowed Secured Claims of Carrollton/Farmers Branch ISD.

         Class 3 Claims: Allowed Secured Claim of DJ Barbaria.

         Class 4 Claims: Allowed General Unsecured Claims.

         Class 5 Claims: Allowed Insider Claims.

         Class 6 Equity Interests: Equity Interest Holders.


                           TREATMENT OF CLAIMS AND INTERESTS

 A. NON-CLASSIFIED CLAIMS. The following Claims are not classified, pursuant to
 Bankruptcy Code Section 1123:



 1 Debtor’s estimate.


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                a.      Administrative Expense Claims. Each holder of an Administrative
         Expense Claim under Bankruptcy Code § 503 shall receive either: (i) with respect to
         Administrative Expense Claims which are Allowed Claims on the Effective Date, the
         amount of such holder’s Allowed Claim in one cash payment, within ten (10) days after
         the Effective Date, from the Debtor; (ii) with respect to Administrative Expense Claims
         which become Allowed Claims after the Effective Date, the amount of such holder’s
         Allowed Claim, in one cash payment from the Debtor within ten (10) days after such Claim
         becomes an Allowed Administrative Expense Claim; or (iii) such other treatment agreed
         upon by the Debtor and such holder.

                          1.        Fee Claims. Each professional person whose retention with respect
                  to this Case has been approved by the Bankruptcy Court or who holds, or asserts,
                  an Administrative Expense Claim that is a Fee Claim shall be required to file with
                  the Bankruptcy Court a final fee application within sixty (60) days after the
                  Effective Date and to serve notice thereof on all parties entitled to such notice. The
                  failure to file timely any such application as required shall result in the Fee Claim
                  being forever barred and discharged. A Fee Claim, with respect to which a Fee
                  Application has been properly filed, shall become an Administrative Expense
                  Claim only to the extent allowed by Final Order. Fee Claims shall be paid either:
                  (i) with respect to Fee Claims which are Allowed Claims on the Effective Date, the
                  amount of such holder's Allowed Claim in one cash payment, within ten (10) days
                  after the Effective Date, from the Debtor; (ii) with respect to Fee Claims which
                  become Allowed Claims after the Effective Date, the amount of such holder's
                  Allowed Claim, in one cash payment from the Debtor within ten (10) days after
                  such Claim becomes an Allowed Fee Claim; or (iii) such other treatment agreed
                  upon by the Debtor and such holder.

                          2.      Administrative Expense Claims Bar Date. Any other person or
                  entity who claims to hold an Administrative Expense Claim (other than a Fee
                  Claim) shall be required to file with the Bankruptcy Court an application within
                  sixty (60) days after the Effective Date and to serve notice thereof on all parties
                  entitled to such notice. The failure to file timely the application as required under
                  this section) of this Plan shall result in the Claim being forever barred and
                  discharged. An Administrative Expense Claim with respect to which an application
                  has been properly filed and to which no timely objection has been filed or an
                  objection has been filed but overruled by the Bankruptcy Court, shall become an
                  Allowed Claim to the extent such Claim is allowed by Final Order.

                  b.       Priority Tax Claims. Priority Tax Claims shall be paid in full over the time
         period from the commencement of payments to the expiration of five (5) years from the
         Petition Date, with interest thereon at the rate of interest of 12% per annum. The Claims
         will be paid in equal monthly installments of principal and interest, commencing on the
         first day of the first month following the Effective Date and continuing on the first day of
         each month thereafter. Interest shall begin to accrue as of the Petition Date. These
         Claimants shall retain their pre- and post-Petition Date statutory Liens securing this Claim
         until it is paid in full.


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                  c.      Priority Wage Claims. Any holder of an Allowed Priority Wage Claim
         within the meaning of Bankruptcy Code § 507(a)(4) will be paid in full in three (3) equal
         monthly installments of principal and interest at the rate of 2% per annum. Payments will
         commence on the first day of the first month following the Effective Date and continue on
         the first day of each month thereafter until paid in full.

        Title 28 U.S.C. Section 1930 Fees. The Reorganized Debtor shall pay all post-
 Confirmation fees assessed by the Office of the United States Trustee until this Case is closed by
 the Court or the Reorganized Debtor is otherwise released from such obligations by the Court.

 B. CLASSIFIED CLAIMS. The following Claims are classified pursuant to Bankruptcy Code
 Section 1123, and are treated as follows:

 General Provisions Regarding Treatment of Claims.

        All Allowed Secured Claimants shall retain all their liens on any property securing their
 Claims.

         No Claimant shall be entitled to a pre-payment penalty if their Claim is paid early.

        Should the value of the Collateral securing a Secured Claim be less than the amount of the
 Claim, the Claim will be bifurcated into a Secured Claim equal to the value of the Collateral and
 an Unsecured Claim for the remainder.

         Class 1: Allowed Priority Claims other than Priority Tax or Wage Claims. These
 Claims, if any, will be paid in full in 36 equal monthly installments of principal and interest at the
 rate of 2% per annum. Payments will commence on the first day of the first month following the
 Effective Date and continue on the first day of each month thereafter until paid in full. These
 Claims are Impaired and entitled to vote on the Plan.

         Class 2: Allowed Secured Claims of Carrollton/Farmers Branch ISD. This Claim shall
 be paid in full over the time period from the commencement of payments to the expiration of five
 (5) years from the Petition Date, with interest thereon at the rate of interest of 12% per annum.
 The Claim will be paid in equal monthly installments of principal and interest, commencing on the
 first day of the first month following the Effective Date and continuing on the first day of each
 month thereafter. Interest shall begin to accrue as of the Petition Date. This Claimant shall retain
 its pre- and post-Petition Date statutory Liens securing this Claim until it is paid in full. These
 Claims are Impaired and entitled to vote on the Plan.

          Class 3: Allowed Secured Claim of DJ Barbaria. This Claim shall not be paid anything
 until all Allowed Non-Insider Creditor Claims in other classes are paid as provided for in this Plan.
 Only then shall this Claim be entitled to payment from the Debtor. The Allowed Secured Claim
 shall accrue interest at 4.25% per annum from and after the Effective Date. This Claim shall retain
 its liens under this Plan.

        Class 4: Allowed General Unsecured Claims: Class 4 Claimants shall receive 10% (ten
 per cent) of the amount of their Allowed Claims, payable over 12 months in equal monthly

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 installments commencing on the first day of the first month following the Effective Date and
 continuing on the first day of each month thereafter. These Claims are Impaired and entitled to
 vote on the Plan.

        Class 5: Allowed Insider Claims. Class 5 shall consist of the Allowed Claims of Insiders
 of the Debtor. Class 5 Claims shall not be paid under this Plan. Class 5 Claimants are Impaired
 and are deemed to have rejected the Plan, but their claims will not be counted for or against
 Confirmation.

        Class 6: Equity Interests. Class 5 Equity Interests shall be retained and are not Impaired
 under the Plan.

                                       ARTICLE VI
                           MEANS FOR IMPLEMENTATION OF PLAN

      6.01 Implementation of Plan. This Plan will be substantially consummated by the
 commencement of payments as called for above.

        This Plan will be substantially consummated by the commencement of payments as called
 for above. The Debtor will make all payments required under the Plan from available cash and
 income from its ongoing business operations.

        The Debtor’s projections for sources and uses of cash, including payments to be made
 under the Plan, are attached hereto as Exhibit D.


                             ARTICLE VII
        TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

         7.01 Rejection of Executory Contracts and Unexpired Leases. All of the Debtor’s
 unexpired leases of real property and executory contracts are hereby deemed rejected as of the
 Effective Date of the Plan unless specifically assumed by separate motion and order prior to the
 Confirmation Date or as part of Confirmation of a Plan in this case.


        7.02 Reservation of Rights. The Debtor shall have the right to assume or reject,
 pursuant to Bankruptcy Code Section 365, prior to the Confirmation Date, any executory contract
 or unexpired lease of real property (to the extent permitted under the Bankruptcy Code) and to the
 terms of this Plan.

         7.03 Bar Date for Claims Based on Rejection. If the rejection of an executory contract
 or an unexpired lease results in damages to the other party or parties to such contract or lease, a
 Claim for such damages shall be forever barred and shall not be enforceable against the
 Reorganized Debtor or its properties or agents, successors, or assigns, unless a proof of Claim is
 filed with the Bankruptcy Court and served upon the Debtor, by the earlier of (a) the end of the
 month following the period in which the Effective Date occurs or (b) such other deadline as the
 Court may set for asserting a Claim for such damages. Any Rejection Claim arising from the

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 rejection of an unexpired lease or executory contract shall be treated as a General Unsecured
 Claim; provided, however, that any Rejection Claim based upon the rejection of an unexpired lease
 of real property either prior to the Confirmation Date or upon the entry of the Confirmation Order
 shall be limited in accordance with section 502(b)(6) of the Bankruptcy Code and state law
 mitigation requirements. Nothing contained herein shall be deemed an admission that such
 rejection gives rise to or results in a Claim or shall be deemed a waiver of any objections to such
 Claim if asserted.

                                            ARTICLE VIII
                                         FEASIBILITY OF PLAN

         8.01 The Debtor asserts that its Plan is feasible based on Exhibit “D”. The funds
 necessary to fund the Plan will come from the revenue generated by the ongoing business
 operations of the Debtor. All causes of action shall remain fully vested in the Reorganized Debtor.
 The failure to identify a claim or cause of action is not specifically a waiver of such claim or cause
 of action. To the extent of any recovery on claims and causes of action that belong to the
 Reorganized Debtor as disclosed herein, if any, such funds will be contributed by the Reorganized
 Debtor (less costs and expenses associated with any litigation) to pay General Unsecured Creditors
 with Allowed Claims.

         Procedure for Filing Proofs of Claims and Proofs of Interests

        8.02 All proofs of claims and proofs of interests must be filed by those Claimants and
 Equity Interest Holders who have not filed such instruments on or before the Bar Date fixed by
 the Court.

         8.03 If Claimants have already filed a proof of claim with the Court or are listed in the
 Debtor’s Schedules as holding non-contingent, liquidated and undisputed claims, a proof of claim
 need not be filed. The schedules and amendments thereto are on file with the Court and are open
 for inspection during regular Court hours. If the equity security interest of an Equity Interest
 Holder is properly reflected in the book and records of the Debtor, a proof of interest need not be
 filed.
                                           ARTICLE IX
                            ALTERNATIVES TO DEBTOR’S PLAN

        9.01 If this Plan is not confirmed, the Debtor’s bankruptcy case may be converted to a
 case under Chapter 7 of the Code, in which case a trustee would be appointed to liquidate the assets
 of the Debtor for distribution to its Creditors in accordance with the priorities of the Code. It is
 also possible that the Debtor’s case may be dismissed if this Plan is not confirmed.




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                                        ARTICLE X
                            RISKS TO CREDITORS UNDER THE PLAN

        10.01 Claimants should be aware that there are a number of substantial risks involved in
 consummation of the Plan. The Debtor does not “guarantee” that the income and expenses will
 equal those in the projections; however, the Debtor believes that the projections are reasonable.
 The Debtor anticipates that the Reorganized Debtor will meet its projections and will be able to
 pay back its creditors as set forth herein.

                                       ARTICLE XI
                             TAX CONSEQUENCES TO THE DEBTOR

       11.01 TO ENSURE COMPLIANCE WITH U.S. TREASURY DEPARTMENT
 CIRCULAR 230, HOLDERS OF CLAIMS ARE HEREBY NOTIFIED THAT: (A) ANY
 DISCUSSION OF UNITED STATES FEDERAL TAX ISSUES IN THIS DISCLOSURE
 STATEMENT IS NOT INTENDED OR WRITTEN TO BE USED OR RELIED UPON, AND
 CANNOT BE USED OR RELIED UPON, BY HOLDERS OF CLAIMS OR INTERESTS OR
 ANY OTHER PERSONS FOR THE PURPOSE OF AVOIDING PENALTIES THAT MAY BE
 IMPOSED ON HOLDERS OF CLAIMS OR ANY OTHER PERSONS UNDER THE
 INTERNAL REVENUE CODE; (B) SUCH DISCUSSION IS INCLUDED HEREIN IN
 CONNECTION WITH THE PROMOTION OR MARKETING (WITHIN THE MEANING OF
 U.S. TREASURY DEPARTMENT CIRCULAR 230) OF THE TRANSACTIONS OR
 MATTERS ADDRESSED HEREIN; AND (C) HOLDERS OF CLAIMS AND INTERESTS
 SHOULD SEEK ADVICE BASED ON THEIR PARTICULAR CIRCUMSTANCES FROM AN
 INDEPENDENT TAX ADVISER.

 A. Introduction

        The following discussion summarizes certain material U.S. federal income tax
 consequences of the Plan to the Debtor and holders of Claims and Interests. The summary is
 provided for general informational purposes only and is based on the United States Internal
 Revenue Code of 1986, as amended (the “Tax Code”), the treasury regulations promulgated
 thereunder, judicial authority and current administrative rulings and practice, all as in effect as of
 the date hereof (except as otherwise noted below with regard to the American Recovery and
 Reinvestment Act of 2009), and all of which are subject to change, possibly with retroactive effect.
 Changes in any of these authorities or in their interpretation could cause the United States federal
 income tax consequences of the Plan to differ materially from the consequences described below.
 The United States federal income tax consequences of the Plan are complex and in important
 respects uncertain. No ruling has been requested from the Internal Revenue Service (the
 “Service”); no opinion has been requested from Debtors’ or The Debtor’s counsel concerning any
 tax consequence of the Plan; and no tax opinion is given by this Disclosure Statement.

 The following discussion does not address all aspects of federal income taxation that may be
 relevant to a particular holder of a Claim or Interest in light of its particular facts and circumstances
 or to particular types of holders of Claims subject to special treatment under the Tax Code. For
 example, the discussion does not address issues of concern to broker-dealers or other dealers in


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 securities, or foreign (non-U.S.) persons, nor does it address any aspects of state, local, or foreign
 (non-U.S.) taxation, or the taxation of holders of Interests in a Debtor. In addition, a substantial
 amount of time may elapse between the Confirmation Date and the receipt of a final distribution
 under the Plan. Events subsequent to the date of this Disclosure Statement, such as the enactment
 of additional tax legislation, court decisions or administrative changes, could affect the federal
 income tax consequences of the Plan and the transactions contemplated hereunder.

 THE DISCUSSION THAT FOLLOWS IS NOT A SUBSTITUTE FOR CAREFUL TAX
 PLANNING AND PROFESSIONAL TAX ADVICE BASED ON THE INDIVIDUAL
 CIRCUMSTANCES OF EACH HOLDER OF A CLAIM OR INTEREST. EACH HOLDER
 OF A CLAIM OR INTEREST IS URGED TO CONSULT WITH ITS TAX ADVISORS
 REGARDING THE FEDERAL, STATE, LOCAL AND NON-U.S. TAX CONSEQUENCES
 OF THE PLAN.

 B. Certain Definitions

 Except as expressly otherwise provided or unless the context otherwise requires, all capitalized
 terms not otherwise defined herein or in the Plan shall have the respective meanings assigned to
 them in this Article.

 “COD” shall mean cancellation of indebtedness income.
 “NOL” shall mean net operating loss.

 C. Certain Material Federal Income Tax Consequences to the Debtor

 Cancellation of a debtor’s debt is generally taxable income to the Debtor. COD is the amount by
 which the indebtedness of a debtor discharged exceeds any consideration given in exchange
 therefore. Cancellation of a debt may not necessarily be COD, however. To the extent that a debtor
 is insolvent, or if a Debtor is in bankruptcy, as is the case here, the Tax Code permits the debtor to
 exclude the COD from its gross income. The statutory exclusion for COD in a title 11 case
 generally excludes COD from gross income if the discharge is granted by a court to a debtor under
 its jurisdiction in a title 11 case, as is sought herein.

 The price for the bankruptcy COD exclusion (as well as the insolvency exclusion) is reduction of
 the debtor’s tax attributes to the extent of the COD income, generally in the following order: NOLs
 for the year of the discharge and NOL carryovers from prior years; general business tax credit
 carryovers; minimum tax credit available as of the beginning of the year following the year of
 discharge; net capital loss for the year of discharge and capital loss carryovers from prior years;
 basis of the debtor’s assets; passive activity loss and credit carryovers from the year of discharge;
 and foreign tax credit carryovers to or from the year of discharge. The reduction of attributes does
 not occur until after the end of the debtor’s tax year in which the COD occurred, so they are
 available to the debtor in determining the amount of its income, loss and tax liability for the year
 of discharge.

 As a result of the implementation of the Plan, the Debtor may have COD and potential attribute
 reduction. Because any reduction in tax attributes does not effectively occur until the first day of


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 the taxable year following the taxable year in which the COD is incurred, any resulting COD, on
 its own, should not impair the ability of the Debtor to use their tax attributes (to the extent
 otherwise available) to reduce their tax liability, if any, otherwise resulting from the
 implementation of the Plan.

 Under section 382 of the Tax Code, if a corporation undergoes an “ownership shift,” the amount
 of its Pre-Change Losses that may be utilized to offset future taxable income generally is subject
 to an annual limitation. The Plan calls for an ownership change and as such any current owner of
 the Debtor should consult his own tax adviser concerning the effect of the Plan.

 The United States federal income tax consequences of payment of Allowed Claims pursuant to the
 Plan will depend on, among other things, the consideration received, or deemed to have been
 received, by the holder of the Allowed Claim, whether such holder reports income on the accrual
 or cash method, whether such holder receives distributions under the Plan in more than one taxable
 year, whether such holder’s Claim is allowed or disputed at the Effective Date, whether such holder
 has taken a bad debt deduction or worthless security deduction with respect to its Claim.

 In general, a holder of a Claim should recognize gain or loss equal to the amount realized under
 the Plan in respect of its Claim less the amount of such holder’s basis in its Claim. Any gain or
 loss recognized in the exchange may be long-term or short-term capital gain or loss or ordinary
 income or loss, depending upon the nature of the Claim and the holder, the length of time the
 holder held the Claim and whether the Claim was acquired at a market discount. If the holder
 realizes a capital loss, its deduction of the loss may be subject to limitations under the Tax Code.
 The holder’s aggregate tax basis for any property received under the Plan generally will equal the
 amount realized. The amount realized by a holder generally will equal the sum of the cash and the
 fair market value of any other property received (or deemed received) by the holder under the Plan
 on the Effective Date and/or any subsequent distribution date, less the amount (if any) allocable to
 Claims for interest. All holders of Allowed Claims are urged to consult their tax advisors. A
 holder of a Claim constituting an installment obligation for tax purposes may be required to
 recognize currently any gain remaining with respect to the obligation if, pursuant to the Plan, the
 obligation is considered to be satisfied at other than its face value, distributed, transmitted, sold or
 otherwise disposed of within the meaning of Section 453B of the Tax Code.

 If the creditors give up all or a portion of their debt in return for stock the Company would change
 the debt to equity on its books and the Creditor would own their stock with a cost basis equal to
 the amount of debt given up to purchase it.

 D. Importance of Obtaining Professional Tax Assistance

 The foregoing discussion is intended only as a summary of certain U.S. federal income tax
 consequences of the Plan, and is not a substitute for careful tax planning with a tax professional.
 The above discussion is for general information purposes only and is not tax advice. The tax
 consequences are in many cases uncertain and may vary depending on a holder’s individual
 circumstances.




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       HOLDERS OF CLAIMS ARE URGED TO CONSULT WITH THEIR TAX ADVISORS
 ABOUT THE FEDERAL, STATE, LOCAL AND NON-U.S. TAX CONSEQUENCES OF THE
 PLAN.

                                            ARTICLE XII
                                         PENDING LITIGATION

         12.01 There is no pending litigation in the Case.

                              ARTICLE XIII
         SUMMARY OF SIGNIFICANT ORDERS ENTERED DURING THE CASE

         13.01 As of the date of the filing of this case no significant orders have been entered in
 this case. On April 15, 2021, the Debtor filed an amended voluntary petition to rescind its prior
 election to be treated under Subchapter V of Chapter 11 of the Bankruptcy Code.

         Dated: April 26, 2021.
                                                             Respectfully Submitted By:

                                                               /s/ Joyce W. Lindauer
                                                             Joyce W. Lindauer
                                                             State Bar No. 21555700
                                                             Kerry S. Alleyne
                                                             State Bar No. 24066090
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                                                             ATTORNEYS FOR THE DEBTOR



                                                               /s/ Mike Swerdlow
                                                             Mike Swerdlow in his capacity as Chief
                                                             Financial Officer of the Debtor




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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

 IN RE:                                                 §
                                                        §
 ELECTROTEK CORPORATION,                                §          CASE NO. 21-30409-mvl
                                                        §          Chapter 11
         Debtor.                                        §

             DEBTOR’S PLAN OF REORGANIZATION DATED APRIL 26, 2021

         COMES NOW Electrotek Corporation, the debtor in this Bankruptcy Case (the “Debtor”),
 and files this its Plan of Reorganization (the “Plan”). Electrotek is a manufacturer and supplier of
 printed circuit boards, operating since 1968. The Debtor’s plant and daily operations are located
 in Oak Creek, Wisconsin, and its principal headquarters and business offices are located in
 Carrolton, Texas.

       The sources and uses of income to fund the Plan are described in more detail in the Disclosure
 Statement accompanying this Plan. Periodic financial reports will be filed with the Court, as
 required by the Bankruptcy Code, covering the profitability, projections of cash receipts and
 disbursements for a reasonable period. These reports shall be available on the Court’s PACER site
 using the Debtor’s name and/or case number as referenced above or can be also obtained from
 Debtor’s counsel by written request.




                                                                      EXHIBIT "A"
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                                           ARTICLE I
                                 DEFINITIONS AND USE OF TERMS

        1.01 Defined Terms. Unless the context otherwise requires, capitalized terms shall have
 the meanings set forth in this section 1.01.

         “Administrative Expense Claim” means an administrative expense or claim described in
         Bankruptcy Code § 503 and entitled to administrative priority pursuant to Bankruptcy Code
         § 507(a)(1), including, but not limited to, Fee Claims.

         “Allowed Amount” means the amount of any Allowed Claim.

         “Allowed Claim” means a Claim against the Debtor allowable under the Bankruptcy Code
         to the extent that: (i) a Proof of Claim or request for payment was timely filed, or, with
         leave of the Bankruptcy Court, late filed, and as to which no objection has been timely filed
         with the Bankruptcy Court, or, if filed, is allowed by a Final Order, unless otherwise
         provided in this Plan; (ii) the Claim is scheduled and not listed as disputed, contingent, or
         unliquidated, and no objection has been timely filed or, if filed, is allowed by a Final Order;
         or (iii) with respect to an Administrative Expense Claim or Fee Claim, the Administrative
         Expense Claim or Fee Claim has been approved by a Final Order upon notice and
         application to the Bankruptcy Court.

         “Assets” means property of the Estate.

         “Avoidance Actions” means any and all rights, claims, and causes of action which a
         trustee, Debtor, or other appropriate party in interest would be able to assert on behalf of
         the Estate under applicable state statutes or the avoidance provisions of chapter 5 of the
         Bankruptcy Code, including actions under one or more of the provisions of Bankruptcy
         Code §§ 506, 542-551, and 553.

         “Bankruptcy Case” or “Case” means this bankruptcy case: Case No. 21-30409 in the
         name of Electrotek Corporation, pending before the Bankruptcy Court.

         “Bankruptcy Code” or “Code” means the United States Bankruptcy Code, 11 U.S.C. §§
         101, et seq., as amended.

         “Bankruptcy Court” or “Court” means the United States Bankruptcy Court for the
         Northern District of Texas, Dallas Division, or other such court that may have jurisdiction
         with respect to the reorganization of the Debtor pursuant to Chapter 11 of the Bankruptcy
         Code.

         “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure, as amended, and
         “Bankruptcy Rule” refers to a specific rule therein.

         “Bar Date” means May 17, 2021, the deadline established by the Bankruptcy Court
         pursuant to Bankruptcy Rule 3003(c)(3), after which any Proof of Claim may not be timely
         filed, except Claims held by governmental agencies.


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         “Business Day” shall mean any day that is not a Saturday, Sunday, or one of the legal
         holidays listed in Bankruptcy Rule 9006(a).

         “Claim” shall have the meaning set forth in Bankruptcy Code § 101(5).

         “Claimant” or “Creditor” means the holder of a Claim.

         “Class” means any class into which Claims are classified pursuant to the Plan. Each
         subclass of a class shall be treated as a separate class.

         “Collateral” means the real or personal property securing a Secured Claim.

         “Confirmation” means the Bankruptcy Court’s entry of the Confirmation Order.

         “Confirmation Date” means the date on which the Order confirming this Plan is entered.

         “Confirmation Hearing” means the hearing or hearings held before the Bankruptcy
         Court in which the Debtors will seek Confirmation of this Plan.

         “Confirmation Order” means the Order confirming this Plan.

         “Contested” when used with respect to a Claim, means a Claim against the Debtor: (i)
         that is listed in the Debtor’s Schedules of Assets and Liabilities as disputed, contingent,
         or unliquidated; (ii) that is listed in the Debtor’s Schedules of Assets and Liabilities as
         undisputed, liquidated, and not contingent and as to which a Proof of Claim has been
         filed with the Bankruptcy Court, to the extent the Proof of Claim amount exceeds the
         scheduled amount; (iii) that is the subject of a pending action in a forum other than the
         Bankruptcy Court unless such Claim has been determined by Final Order in such other
         forum and Allowed by Final Order of the Bankruptcy Court; or (iv) as to which an
         objection has been or may be timely filed and has not been denied by Final Order. To the
         extent an objection relates to the allowance of only a part of a Claim, such Claim shall be
         a Contested Claim only to the extent of the objection.

          “Debtor” means Electrotek Corporation, the Debtor herein. Where the context so
         requires, “Debtor” shall also include the Reorganized Debtor.

         “Disputed” with respect to a Claim means either: (i) a Claim which has been objected to
         by the Debtor; or (ii) a Claim that is listed on the Debtor’s bankruptcy schedules as
         “disputed, contingent or unliquidated” and for which such Creditor or Interest holder has
         not filed a Proof of Claim.

         “Effective Date” means the thirtieth (30th) day after the Confirmation Date.

         “Estate” means the bankruptcy estate of the Debtor in this Case.

         “Fee Claim” means a Claim under Bankruptcy Code §§ 330 or 503 for allowance of
         compensation and reimbursement of expenses to professionals in this Bankruptcy Case.



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         “Fee Application” means an application filed with the Bankruptcy Court for allowance
         of a Fee Claim.

         “Final Order” means an Order as to which any appeal that has been taken has not been
         stayed following the expiration of the time for appeal or has been resolved, or as to which
         the time for appeal has expired.

         “Impaired” means the treatment of an Allowed Claim or Interest pursuant to the Plan
         unless, with respect to such Claim or Interest, either: (i) the Plan leaves unaltered the
         legal, equitable and contractual rights to which such Claim or Interest entitles the holder
         of such Claim or Interest; (ii) notwithstanding any contractual provision or applicable law
         that entitles the holder of such Claim or Interest to demand or receive accelerated payment
         of such Claim or Interest after occurrence of a default, the Debtor (A) cures any default
         that occurred before or after the commencement of the Chapter 11 Case on the Petition
         Date, other than default of the kind specified in § 365(b)(2) of the Bankruptcy Code; (B)
         reinstates the maturity of such Claim or Interest as such maturity existed before such
         default; (C) compensates the holder of such Claim or Interest for any damages incurred
         as a result of any reasonable reliance by such holder on such contractual provision or such
         applicable law; and (D) does not otherwise alter the legal, equitable or contractual rights
         to which such Claim or Interest entitles the holder of such Claim or Interest; or (iii) the
         Plan provides that on the Effective Date, the holder of such Claim or Interest receives, on
         account of such Claim or Interest, cash equal to the Allowed Amount of such Claim or
         Interest.

         “Insider” has the meaning provided by § 101(31) of the Bankruptcy Code.

         “Interest” means any equity or ownership interest in the Debtor.

          “Lien” means any charge against or interest in property to secure payment of debt or
         performance of an obligation and includes a judicial lien, security interest, and deed of
         trust, mortgage and property tax lien.

         “Order” means an Order of the Bankruptcy Court.

          “Petition Date” means March 8, 2021, the date on which the Debtor filed its voluntary
         petition under Chapter 11 of the Bankruptcy Code.

         “Plan” means this Plan of Reorganization, including any amendments, modifications or
         corrections made thereto pursuant to the Bankruptcy Code.

         “Priority Tax Claim” means a Claim entitled to priority pursuant to Bankruptcy Code §
         507(a)(8).

         “Priority Wage Claim” means a Claim entitled to priority pursuant to Bankruptcy Code
         § 507(a)(4).

         “Priority Unsecured Claim” means an Unsecured Claim entitled to priority under
         Bankruptcy Code § 507(a), except Priority Tax Claims and Priority Wage Claims.

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         “Proof of Claim” means a written statement setting forth a Creditor’s Claim filed in this
         Case and conforming substantially to the appropriate official form.

         “Reorganized Debtor” means the Debtor as it exists after Confirmation of the Plan.

         “Schedules and Statements” means the Debtor’s bankruptcy schedules A/B, D-H and the
         Statement of Financial Affairs.

         “Secured Claim” means a Claim that is secured within the meaning of Bankruptcy Code
         §506(a). Should the value of the Collateral securing a Secured Claim be less than the
         amount of the Claim, the Claim will be bifurcated into a Secured Claim equal to the value
         of the Collateral and a general Unsecured Claim for the remainder, pursuant to Bankruptcy
         Code §506(d).

         “Unsecured Claim” means any Claim that is not a Secured Claim or an Administrative
         Expense Claim and that is not entitled to priority treatment under Bankruptcy Code § 507.

                                           ARTICLE II
                                       CONCEPT OF THE PLAN

         2.01 The Plan is a Plan of Reorganization. Electrotek is a manufacturer and supplier of
 printed circuit boards, operating since 1968. The Debtor’s plant and daily operations are located
 in Oak Creek, Wisconsin, and its principal offices are located in Carrolton, Texas. Pursuant to the
 Plan, the Debtor will make payments to creditors from available cash and income from its ongoing
 business operations.

       2.02 The Plan proposes to pay Secured Claims in full and pay a 20% return to Allowed
 Unsecured Claims over 12 months. The details of the Plan are set out in Article VI of this
 document.

                                        ARTICLE III
                               GENERAL TERMS AND CONDITIONS

        3.01      Treatment of Claims. This Plan is intended to resolve all Claims against the
 Debtor and/or property of the Debtor of whatever character, whether contingent or liquidated, or
 whether allowed by the Bankruptcy Court pursuant to Bankruptcy Code Section 502(a). However,
 only Allowed Claims will receive payments under the Plan. The Plan is designed to ensure that
 Claimants shall receive at least as much pursuant to this Plan as they would receive in a liquidation
 pursuant to Chapter 7 of the Bankruptcy Code.

         3.02     Time for Filing Claims. The holder of any Administrative Claim other than (i) a
 Fee Claim, (ii) a liability incurred and paid in the ordinary course of business by the Debtor, or
 (iii) an Allowed Administrative Claim, must file with the Bankruptcy Court and serve on the
 Debtor and its respective counsel, notice of such Administrative Claim within thirty (30) days after
 the Effective Date. At a minimum, such notice must identify (i) the name of the holder of such
 Claim, (ii) the amount of such Claim, and (iii) the basis of such Claim. Failure to file this notice
 timely and properly shall result in the Administrative Claim being forever barred and discharged.

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         Each Person asserting an Administrative Expense that is a Fee Claim incurred before the
 Effective Date shall be required to file with the Bankruptcy Court, and serve on the Debtor’s
 counsel and the U. S. Trustee, a Fee Application within sixty (60) days after the Effective Date.

        A person who is found to have received a voidable transfer shall have thirty (30) days
 following the date upon which the order ruling that such transfer is avoidable becomes a Final
 Order in which to file a Claim in the amount of such avoided transfer.

        Liabilities incurred from the Petition Date through the Effective Date in the ordinary course
 of business shall be paid in the ordinary course of business by the Debtor.

         3.03      Modification to the Plan. In accordance with Bankruptcy Rule 3019, to the
 extent applicable, this Plan may be modified or amended upon application of the Debtor, or
 corrected prior to the Confirmation Date, provided that notice and an opportunity for hearing have
 been given to any affected party. The Plan may be modified at any time after Confirmation and
 before the Effective Date, provided that the Plan, as modified, meets the requirements of sections
 1122 and 1123 of the Bankruptcy Code and the Bankruptcy Court, after notice and a hearing,
 confirms the Plan, as modified, under section 1129 of the Bankruptcy Code, the circumstances
 warrant such modification and Debtor consents thereto in writing.

                                   ARTICLE IV
                 DESIGNATION OF CLASSES OF CLAIMS AND INTERESTS

       The Debtor designates the following Classes of Claims and Interests pursuant to
 Bankruptcy Code Section 1123.

         Class 1 Claims: Allowed Priority Claims other than Priority Tax or Wage Claims.

         Class 2 Claims: Allowed Secured Claims of Carrollton/Farmers Branch ISD.

         Class 3 Claims: Allowed Secured Claim of DJ Barbaria.

         Class 4 Claims: Allowed General Unsecured Claims.

         Class 5 Claims: Allowed Insider Claims.

         Class 6 Equity Interests: Equity Interest Holders.

                                      ARTICLE V
                           TREATMENT OF CLAIMS AND INTERESTS

 A. NON-CLASSIFIED CLAIMS. The following Claims are not classified, pursuant to
 Bankruptcy Code Section 1123:

               a.     Administrative Expense Claims. Each holder of an Administrative
         Expense Claim under Bankruptcy Code § 503 shall receive either: (i) with respect to

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         Administrative Expense Claims which are Allowed Claims on the Effective Date, the
         amount of such holder’s Allowed Claim in one cash payment, within ten (10) days after
         the Effective Date, from the Debtor; (ii) with respect to Administrative Expense Claims
         which become Allowed Claims after the Effective Date, the amount of such holder’s
         Allowed Claim, in one cash payment from the Debtor within ten (10) days after such Claim
         becomes an Allowed Administrative Expense Claim; or (iii) such other treatment agreed
         upon by the Debtor and such holder.

                          1.        Fee Claims. Each professional person whose retention with respect
                  to this Case has been approved by the Bankruptcy Court or who holds, or asserts,
                  an Administrative Expense Claim that is a Fee Claim shall be required to file with
                  the Bankruptcy Court a final fee application within sixty (60) days after the
                  Effective Date and to serve notice thereof on all parties entitled to such notice. The
                  failure to file timely any such application as required shall result in the Fee Claim
                  being forever barred and discharged. A Fee Claim, with respect to which a Fee
                  Application has been properly filed, shall become an Administrative Expense
                  Claim only to the extent allowed by Final Order. Fee Claims shall be paid either:
                  (i) with respect to Fee Claims which are Allowed Claims on the Effective Date, the
                  amount of such holder's Allowed Claim in one cash payment, within ten (10) days
                  after the Effective Date, from the Debtor; (ii) with respect to Fee Claims which
                  become Allowed Claims after the Effective Date, the amount of such holder's
                  Allowed Claim, in one cash payment from the Debtor within ten (10) days after
                  such Claim becomes an Allowed Fee Claim; or (iii) such other treatment agreed
                  upon by the Debtor and such holder.

                          2.      Administrative Expense Claims Bar Date. Any other person or
                  entity who claims to hold an Administrative Expense Claim (other than a Fee
                  Claim) shall be required to file with the Bankruptcy Court an application within
                  sixty (60) days after the Effective Date and to serve notice thereof on all parties
                  entitled to such notice. The failure to file timely the application as required under
                  this section) of this Plan shall result in the Claim being forever barred and
                  discharged. An Administrative Expense Claim with respect to which an application
                  has been properly filed and to which no timely objection has been filed or an
                  objection has been filed but overruled by the Bankruptcy Court, shall become an
                  Allowed Claim to the extent such Claim is allowed by Final Order.

                  b.       Priority Tax Claims. Priority Tax Claims shall be paid in full over the time
         period from the commencement of payments to the expiration of five (5) years from the
         Petition Date, with interest thereon at the rate of interest of 12% per annum. The Claims
         will be paid in equal monthly installments of principal and interest, commencing on the
         first day of the first month following the Effective Date and continuing on the first day of
         each month thereafter. Interest shall begin to accrue as of the Petition Date. These
         Claimants shall retain their pre- and post-Petition Date statutory Liens securing this Claim
         until it is paid in full.

                 c.    Priority Wage Claims. Any holder of an Allowed Priority Wage Claim
         within the meaning of Bankruptcy Code § 507(a)(4) will be paid in full in three (3) equal

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         monthly installments of principal and interest at the rate of 2% per annum. Payments will
         commence on the first day of the first month following the Effective Date and continue on
         the first day of each month thereafter until paid in full.

        Title 28 U.S.C. Section 1930 Fees. The Reorganized Debtor shall pay all post-
 Confirmation fees assessed by the Office of the United States Trustee until this Case is closed by
 the Court or the Reorganized Debtor is otherwise released from such obligations by the Court.

 B. CLASSIFIED CLAIMS. The following Claims are classified pursuant to Bankruptcy Code
 Section 1123, and are treated as follows:

 General Provisions Regarding Treatment of Claims.

        All Allowed Secured Claimants shall retain all their liens on any property securing their
 Claims.

         No Claimant shall be entitled to a pre-payment penalty if their Claim is paid early.

        Should the value of the Collateral securing a Secured Claim be less than the amount of the
 Claim, the Claim will be bifurcated into a Secured Claim equal to the value of the Collateral and
 an Unsecured Claim for the remainder.

         Class 1: Allowed Priority Claims other than Priority Tax or Wage Claims. These
 Claims, if any, will be paid in full in 36 equal monthly installments of principal and interest at the
 rate of 2% per annum. Payments will commence on the first day of the first month following the
 Effective Date and continue on the first day of each month thereafter until paid in full. These
 Claims are Impaired and entitled to vote on the Plan.

         Class 2: Allowed Secured Claims of Carrollton/Farmers Branch ISD. This Claim shall
 be paid in full over the time period from the commencement of payments to the expiration of five
 (5) years from the Petition Date, with interest thereon at the rate of interest of 12% per annum.
 The Claim will be paid in equal monthly installments of principal and interest, commencing on the
 first day of the first month following the Effective Date and continuing on the first day of each
 month thereafter. Interest shall begin to accrue as of the Petition Date. This Claimant shall retain
 its pre- and post-Petition Date statutory Liens securing this Claim until it is paid in full. These
 Claims are Impaired and entitled to vote on the Plan.

          Class 3: Allowed Secured Claim of DJ Barbaria. This Claim shall not be paid anything
 until all Allowed Non-Insider Creditor Claims in other classes are paid as provided for in this Plan.
 Only then shall this Claim be entitled to payment from the Debtor. The Allowed Secured Claim
 shall accrue interest at 4.25% per annum from and after the Effective Date. This Claim shall retain
 its liens under this Plan.

         Class 4: Allowed General Unsecured Claims: Class 4 Claimants shall receive 10% (ten
 per cent) of the amount of their Allowed Claims, payable over 12 months in equal monthly
 installments commencing on the first day of the first month following the Effective Date and


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 continuing on the first day of each month thereafter. These Claims are Impaired and entitled to
 vote on the Plan.

        Class 5: Allowed Insider Claims. Class 5 shall consist of the Allowed Claims of Insiders
 of the Debtor. Class 5 Claims shall not be paid under this Plan. Class 5 Claimants are Impaired
 and are deemed to have rejected the Plan, but their claims will not be counted for or against
 Confirmation.

        Class 6: Equity Interests. Class 5 Equity Interests shall be retained and are not Impaired
 under the Plan.

                                       ARTICLE VI
                           MEANS FOR IMPLEMENTATION OF PLAN

        6.01 Implementation of Plan. This Plan will be substantially consummated by the
 commencement of payments as called for above. The Debtor will make all payments required
 under the Plan from available cash and income from its ongoing business operations. Nothing shall
 prevent the Debtor from paying the Creditors with Allowed Claims early.

       Upon the Effective Date, all property of the Debtor and its Estate shall vest in the
 Reorganized Debtor, subject to the Allowed Secured Claims described in this Plan.

                             ARTICLE VII
        TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

        7.01 Rejection of Executory Contracts and Unexpired Leases. All executory
 contracts and unexpired leases not assumed by the Debtor as of the Confirmation Date shall be
 deemed as rejected by this Plan.

        7.02 Reservation of Rights. The Debtor shall have the right to assume or reject,
 pursuant to Bankruptcy Code Section 365, prior to the Confirmation Date, any executory contract
 or unexpired lease of real property (to the extent permitted under the Bankruptcy Code).

         7.03 Bar Date for Claims Based on Rejection. If the rejection of an executory contract
 or an unexpired lease results in damages to the other party or parties to such contract or lease, a
 Claim for such damages shall be forever barred and shall not be enforceable against the Plan
 Proponent or their properties or agents, successors, or assigns, unless a proof of Claim is filed with
 the Bankruptcy Court and served upon the Reorganized Debtor, by the earlier of (a) the end of the
 month following the period in which the Effective Date occurs or (b) such other deadline as the
 Court may set for asserting a Claim for such damages. Any Rejection Claim arising from the
 rejection of an unexpired lease or executory contract shall be treated as a General Unsecured
 Claim; provided, however, that any Rejection Claim based upon the rejection of an unexpired lease
 of real property either prior to the Confirmation Date or upon the entry of the Confirmation Order
 shall be limited in accordance with section 502(b)(6) of the Bankruptcy Code and state law
 mitigation requirements. Nothing contained herein shall be deemed an admission that such
 rejection gives rise to or results in a Claim or shall be deemed a waiver of any objections to such
 Claim if asserted.

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                               ARTICLE VIII
             ENFORCEMENT, SETTLEMENT, OR ADJUSTMENT OF CLAIMS

         8.01 The Debtor’s Causes of Action. Except as otherwise released pursuant to the Plan,
 all Claims recoverable under Section 550 of the Bankruptcy Code, all Claims against third parties
 on account of an indebtedness, and all other Claims of any kind or character whatsoever owed to
 or in favor of the Debtor or Reorganized Debtor or the Estate to the extent not specifically
 compromised and released pursuant to this Plan or any agreement referred to and incorporated
 herein, are hereby preserved and retained for enforcement by the Reorganized Debtor for the
 benefit of the Creditors subsequent to the Effective Date. This Plan shall not estop the Debtor or
 Reorganized Debtor from asserting any claim or cause of action whether disclosed or not.

          8.02 Objections to Claims. Any party authorized by the Bankruptcy Code may object
 to the allowance of Pre-Petition Date Claims at any time prior to sixty (60) days after the Effective
 Date and, as to Rejection Claims, at any time prior to sixty (60) days after the filing of any such
 Rejection Claim. Any proof of Claim filed after the Court sets bar dates shall be of no force and
 effect and shall be deemed disallowed. All Contested Claims shall be litigated to Final Order;
 provided, however, that the Debtor or Reorganized Debtor may compromise and settle any
 Contested Claim, subject to the approval of the Bankruptcy Court. Notwithstanding the foregoing,
 a person who is found to have received a voidable transfer shall have thirty (30) days following
 the date upon which the order ruling that such transfer is avoidable becomes a Final Order in which
 to file a Claim in the amount of such avoided transfer.

         No distributions under this Plan shall be made to the holder of a Claim that is in dispute,
 unless and until such Claim becomes an Allowed Claim. If a Claim is Disputed in whole or in part
 because the Debtor or Reorganized Debtor asserts a right of offset against such Claim or
 recoupment against the holder of such Claim, then, if and to the extent the Claim giving rise to the
 offset or recoupment is sustained by Final Order, the Claim in dispute shall be reduced or
 eliminated and, if applicable, the holder of such Claim shall be required to pay the amount of such
 offset or recoupment, less the amount of its Allowed Claim. In addition, any party authorized by
 the Bankruptcy Code, at any time, may request that the Court estimate any contingent, disputed or
 unliquidated Claim pursuant to Section 502(c) of the Bankruptcy Code, regardless of any prior
 objections.
                                            ARTICLE IX
                                  EFFECT OF CONFIRMATION

        9.01 Discharge and Release of Debtor. Pursuant to Bankruptcy Code Section 1141(d),
 confirmation of this Plan does discharge the Debtor.

         9.02 Legal Binding Effect. The provisions of this Plan, pursuant to the Bankruptcy
 Code Section 1141 shall bind the Debtor and all Creditors, whether or not they accept this Plan.
 The distributions provided for Claimants shall not be subject to any Claim by another creditor or
 interest holder by reason of any assertion of a contractual right of subordination.




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        9.03 Discharge. Confirmation of the Plan shall result in the inability to commence or
 continue any judicial, administrative, or other action or proceeding on account of any Pre-Petition
 Date Claims against the Debtor or Reorganized Debtor.

         Except as provided in the Plan, from and after the Confirmation Date, all holders of Claims
 against the Debtor are restrained and enjoined by the Confirmation of the Plan: (a) from
 commencing or continuing in any manner, any action or other proceeding of any kind with respect
 to any such Claim against the Debtor or Reorganized Debtor, or its property; (b) from enforcing,
 attaching, collecting, or recovering by any manner or means, any judgment, award, decree, or order
 against the Assets or the Debtor or Reorganized Debtor on account of such Claims; (c) from
 creating, perfecting, or enforcing any encumbrance of any kind against the Assets, or the Debtor
 or Reorganized Debtor on account of such Claims; (d) from asserting any setoff, right of
 subrogation, or recoupment of any kind against any obligation due the Debtor or Reorganized
 Debtor on account of such Claims; and (e) from performing any act, in any manner, in any place
 whatsoever, that does not conform to or comply with the provisions of the Plan on account of such
 Claims; provided, however, that each holder of a Contested Claim may continue to prosecute its
 proof of Claim in the Bankruptcy Court and all holders of Claims shall be entitled to enforce its
 rights under the Plan and any agreements executed or delivered pursuant to or in connection with
 the Plan. Creditors shall not pursue Claims against non-debtor third parties at the same time as
 their Claims are being paid through the Plan.

         9.04     Satisfaction of Claims and Interests

         Except as otherwise provided by the Plan, the consideration distributed under the Plan shall
 be in complete satisfaction of all Claims of any Creditor against the Debtor, including Claims
 arising prior to the Effective Date.

         9.05     Temporary Injunction

         Except as otherwise expressly provided in, or permitted under, this Plan, the Confirmation
 Order shall provide, among other things, that all Creditors and persons who have held, hold, or
 may hold Claims or Interests against the Debtor, are enjoined on and after the Effective Date as
 long as the Plan is not in default and has not been completed against the: (i) commencement or
 continuation of any judicial, administrative, or other action or proceeding against the Debtor or
 any third-party guarantor on account of Claims against the Debtor; (ii) enforcement, attachment,
 collection, or recovery by any manner or means of any judgment, award, decree, or order against
 the Debtor or any third-party guarantor or any assets or property of same; or (iii) creation,
 perfection, or enforcement of any encumbrance of any kind against the Debtor or any third-party
 guarantor arising from a Claim. Such injunction expires at the end of the Plan term at which time
 all Allowed Claims will have been paid in accordance with the terms of the Plan.

                                          ARTICLE X
                                   MISCELLANEOUS PROVISIONS

        10.01 Request for Relief Under Bankruptcy Code Section 1129. In the event any
 Impaired Class shall fail to accept this Plan in accordance with Bankruptcy Code Section 1129(a),


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 the Debtor reserves the right to, and does hereby request the Bankruptcy Court to confirm the Plan
 in accordance with Bankruptcy Code Section 1129(b).

        10.02 Revocation. The Debtor reserves the right to revoke and withdraw this Plan at
 any time prior to the Confirmation Date.

         10.03 Effect of Withdrawal or Revocation. If the Debtor revokes or withdraws this
 Plan prior to the Confirmation Date, or if the Confirmation Date or the Effective Date does not
 occur, then this Plan shall be deemed null and void. In such event, nothing contained herein shall
 be deemed to constitute a waiver or release of any Claims by or against the Debtor or any other
 person or to prejudice in any manner the rights of the Debtor or any person in any further
 proceedings involving the Debtor.

         10.04 Due Authorization by Creditors. Each and every Claimant who elects to
 participate in the distributions provided herein warrants that it is authorized to accept in
 consideration of its Claim against the Debtor the distributions provided in the Plan and that there
 are no outstanding commitments, agreements, or understandings, express or implied, that may or
 can in any way defeat or modify the rights conveyed or obligations undertaken by it under this
 Plan.

         10.05 Entire Agreement. This Plan, as described herein, the Confirmation Order, and
 all other documents and instruments to effectuate this Plan provided for herein, constitute the entire
 agreement and understanding among the parties hereto relating to the subject matter hereof and
 supersedes all prior discussions and documents.

         10.06 Section 1146 Exemption. Pursuant to Section 1146 of the Bankruptcy Code, the
 issuance, transfer or exchange or any security under this Plan or the making or delivery of any
 instrument or transfer pursuant to, in implementation of or as contemplated by this Plan or the
 transfer of any property pursuant to this Plan shall not be taxed under any federal, state or local
 law imposing a stamp, transfer or similar tax or fee.

         10.07 Provisions Governing Distributions. All payments and distributions under the
 Plan shall be made by the Reorganized Debtor as indicated. Any payments or distributions to be
 made by the Reorganized Debtor pursuant to the Plan shall be made as soon as reasonably
 practicable after the Effective Date, except as otherwise provided for in the Plan, or as may be
 ordered by the Bankruptcy Court. Any payment or distribution by the Reorganized Debtor
 pursuant to the Plan, to the extent delivered by the United States Mail, shall be deemed made when
 deposited into the United States Mail.

       Payments of Cash to be made by the Reorganized Debtor pursuant to the Plan shall be
 made by check drawn on a domestic bank or by wire transfer from a domestic bank.

         Distributions and deliveries to holders of Allowed Claims shall be made at the addresses
 set forth on the proofs of Claim or proofs of interest filed by such holders (or at the last known
 addresses of such holders if no proof of Claim or proof of interest is filed). All Claims for
 undeliverable distributions shall be made on or before the second anniversary of the Effective


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 Date. After such date, all unclaimed property shall remain the property of the Reorganized Debtor
 and the Claim of any other holder with respect to such unclaimed property shall be discharged and
 forever barred.

         Checks issued by the Reorganized Debtor in respect of Allowed Claims shall be null and
 void if not cashed within ninety (90) days of the date of delivery thereof. Requests for reissuance
 of any check shall be made directly to the Reorganized Debtor by the holder of the Allowed Claim
 to whom such check originally was issued. Any claim in respect of such a voided check within
 ninety (90) days after the date of delivery of such check. After such date, all Claims in respect of
 void checks shall be discharged and forever barred, and the amount of such checks shall become
 Unclaimed Property and returned to the Reorganized Debtor.

         No interest shall be paid on any Claim unless, and only to the extent that, the Plan
 specifically provides otherwise.

         10.08 Governing Law. Unless a rule of law or procedure supplied by federal law
 (including the Bankruptcy Code and Bankruptcy Rules) is applicable, or a specific choice of law
 provision is provided, the internal laws of the State of Texas shall govern the construction and
 implementation of the Plan and any agreements, documents, and instruments executed in
 connection with the Plan, without regard to conflicts of law.

         10.09 Default. In the event of a default under the Plan, the affected Claimant or its
 counsel shall provide notice to counsel for the Debtor/Reorganized Debtor. The
 Debtor/Reorganized Debtor shall have twenty (20) days to cure the default. In the event the
 Debtor/Reorganized Debtor fails to cure the default within 20 days after receipt of notice, the
 Claimant shall be entitled to pursue collection of all amounts owed pursuant to state law outside
 of the Bankruptcy Court. The Debtor/Reorganized Debtor shall only be entitled to two notices of
 default. In the event of a third default, the Claimant shall be entitled to pursue collection of all
 amounts owed pursuant to state law outside the Bankruptcy Court without further notice.
         10.10 Notices.

          All notices, requests, elections, or demands in connection with the Plan shall be in writing
 and shall be deemed to have been given when received or, if mailed, five (5) days after the date of
 mailing provided such writing shall have been sent by registered or certified mail, postage prepaid,
 return receipt requested. A copy of all notices provided to the Debtor under this Plan shall be sent
 to: (i) the Debtor at 1430 Century Drive, Carrollton, Texas 75006, and (ii) the Debtor’ attorney,
 Joyce W. Lindauer, Joyce W. Lindauer Attorney, PLLC, 1412 Main Street. Suite 500 Dallas TX
 75202 Telephone: (972) 503-4033; Fax: (972) 503-4034; Email: joyce@joycelindauer.com.

                                          ARTICLE XI
                                   MODIFICATION OF THE PLAN

         11.01 The Debtor may propose amendments to or modifications of this Plan at any time
 prior to Confirmation, upon notice to all parties-in-interest. After Confirmation, the Reorganized
 Debtor may, with approval of the Court and so long as it does not materially or adversely affect
 the interest of creditors, modify to remedy any defect or omission or reconcile any inconsistencies

 Debtor’s Plan of Reorganization Dated April 26, 2021
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 in the Confirmation Order in such manner as may be necessary to carry out the purposes and effect
 of this Plan.

                                          ARTICLE XII
                                   RETENTION OF JURISDICTION

         Notwithstanding confirmation of the Plan or the Effective Date having occurred, the Court
 will retain jurisdiction for the following purposes:

         12.01 Allowance of Claims. To hear and determine the allowability of all Claims upon
 objections to such Claims.

         12.02 Executory Contracts and Unexpired Leases Proceedings. To act with respect
 to proceedings regarding the assumption of any executory contract or unexpired lease of the Debtor
 pursuant to Section 365 and 1123 of the Code and Article VII of the Plan.

         12.03 Plan Interpretation.             To resolve controversies and disputes regarding the
 interpretation of the Plan.

         12.04 Plan Implementation. To implement and enforce the provisions of the Plan and
 enter orders in aid of confirmation and implementation of the Plan.

        12.05 Plan Modification. To modify the Plan pursuant to Section 1127 of the Code
 and applicable Bankruptcy Rules.

        12.06 Adjudication of Controversies. To adjudicate such contested matters and
 adversary proceedings as may be pending or subsequently initiated in the Court against the Debtor.

          12.07 Injunctive Relief. To issue any injunction or other relief as appropriate to
 implement the intent of the Plan, and to enter such further orders enforcing any injunctions or other
 relief issued under the Plan or in the Confirmation Order.

         12.08 Interpleader Action. To entertain interpleader actions concerning assets to be
 distributed or other assets of the Estate.

         12.09 Correct Minor Defects. To correct any defect, cure any omission or reconcile
 any inconsistency or ambiguity in the Plan, the Confirmation Order or any document executed or
 to be executed in connection therewith, as may be necessary to carry out the purposes and intent
 of the Plan, provided that the rights of any holder or an Allowed Claim are not materially and
 adversely affected thereby.

        12.10 Authorization of Fees and Expenses. To review and authorize payment of
 professional fees incurred prior to the Effective Date.




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        12.11 Post-Confirmation Orders Regarding Confirmation. To enter and implement
 such orders as may be appropriate in the event the Confirmation Order is, for any reason, stayed,
 reversed, revoked, modified, or vacated.

        12.12       Final Decree. To enter a final decree closing the Case pursuant to Bankruptcy
 Rule 3022.

         Dated: April 26, 2021.
                                                         Respectfully Submitted,

                                                           /s/ Joyce W. Lindauer
                                                         Joyce W. Lindauer
                                                         State Bar No. 21555700
                                                         Kerry S. Alleyne
                                                         State Bar No. 24066090
                                                         Guy H. Holman
                                                         State Bar No. 24095171
                                                         Joyce W. Lindauer Attorney, PLLC
                                                         1412 Main St. Suite 500
                                                         Dallas, Texas 75202
                                                         Telephone: (972) 503-4033
                                                         Facsimile: (972) 503-4034
                                                         ATTORNEYS FOR THE DEBTOR



                                                           /s/ Mike Swerdlow
                                                         Mike Swerdlow in his capacity as Chief
                                                         Financial Officer of the Debtor




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                                                           EXHIBIT "C"
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CHAPTER 11 DEBTOR PROJECTIONS
Electrotek Corporation
                                                                                    Month        Month        Month        Month        Month
                                                                                     1            2            3            4            5
INCOME
                        Income                                                     350,000.00   350,000.00   350,000.00   350,000.00   350,000.00
                        Legal Retainer                                              11,750.00
                        NET INCOME                                                 361,750.00   350,000.00   350,000.00   350,000.00   350,000.00
EXPENSES
                        Expenses                                                   275,000.00   275,000.00   275,000.00   275,000.00   275,000.00
                        TOTAL EXPENSES                                             275,000.00   275,000.00   275,000.00   275,000.00   275,000.00
PLAN PAYMENTS   Class
                        Administrative Claims                                       11,750.00
                 1      Priority Claims, other than Priority Tax or Wage Claims          0.00
                 2      Secured Claims of Carrollton/Farmers Branch ISD                136.74      136.74       136.74       136.74       136.74
                 3      Secured Claim of DJ Barbaria
                 4      General Unsecured Claims                                    31,735.83    31,735.83    31,735.83    31,735.83    31,735.83
                 5      Insider Claims
                 6      Equity Interests
                                                                                    43,622.57    31,872.57    31,872.57    31,872.57    31,872.57
NET INCOME                                                                          43,127.43    43,127.43    43,127.43    43,127.43    43,127.43
CUMULATIVE INCOME                                                                   43,127.43    86,254.86   129,382.29   172,509.72   215,637.15




                                                                                                      EXHIBIT "D"
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 Month        Month        Month        Month       Month        Month         Month        Month           Month        Month
  6            7            8            9           10           11            12           13              14           15

350,000.00   350,000.00   350,000.00   350,000.00   350,000.00   350,000.00    350,000.00   350,000.00      350,000.00   350,000.00

350,000.00   350,000.00   350,000.00   350,000.00   350,000.00   350,000.00    350,000.00   350,000.00      350,000.00   350,000.00

275,000.00   275,000.00   275,000.00   275,000.00   275,000.00   275,000.00    275,000.00   275,000.00      275,000.00   275,000.00
275,000.00   275,000.00   275,000.00   275,000.00   275,000.00   275,000.00    275,000.00   275,000.00      275,000.00   275,000.00




   136.74       136.74       136.74       136.74       136.74       136.74        136.74       136.74          136.74       136.74

 31,735.83    31,735.83    31,735.83    31,735.83    31,735.83    31,735.83     31,735.83



 31,872.57    31,872.57    31,872.57    31,872.57    31,872.57    31,872.57     31,872.57       136.74          136.74       136.74
 43,127.43    43,127.43    43,127.43    43,127.43    43,127.43    43,127.43     43,127.43    74,863.26       74,863.26    74,863.26
258,764.58   301,892.01   345,019.44   388,146.87   431,274.30   474,401.73    517,529.16   592,392.42      667,255.68   742,118.94
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Month        Month        Month         Month          Month          Month          Month          Month          Month          Month
 16           17           18            19             20             21             22             23             24             25

350,000.00   350,000.00   350,000.00    350,000.00     350,000.00     350,000.00     350,000.00     350,000.00     350,000.00     350,000.00

350,000.00   350,000.00   350,000.00    350,000.00     350,000.00     350,000.00     350,000.00     350,000.00     350,000.00     350,000.00

275,000.00   275,000.00   275,000.00    275,000.00     275,000.00     275,000.00     275,000.00     275,000.00     275,000.00     275,000.00
275,000.00   275,000.00   275,000.00    275,000.00     275,000.00     275,000.00     275,000.00     275,000.00     275,000.00     275,000.00




   136.74       136.74       136.74         136.74         136.74         136.74         136.74         136.74         136.74         136.74




    136.74       136.74       136.74         136.74         136.74         136.74         136.74         136.74         136.74         136.74
 74,863.26    74,863.26    74,863.26      74,863.26      74,863.26      74,863.26      74,863.26      74,863.26      74,863.26      74,863.26
816,982.20   891,845.46   966,708.72   1,041,571.98   1,116,435.24   1,191,298.50   1,266,161.76   1,341,025.02   1,415,888.28   1,490,751.54
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 Month          Month          Month          Month          Month          Month          Month          Month          Month          Month
  26             27             28             29             30             31             32             33             34             35

 350,000.00     350,000.00     350,000.00     350,000.00     350,000.00     350,000.00     350,000.00     350,000.00     350,000.00     350,000.00

 350,000.00     350,000.00     350,000.00     350,000.00     350,000.00     350,000.00     350,000.00     350,000.00     350,000.00     350,000.00

 275,000.00     275,000.00     275,000.00     275,000.00     275,000.00     275,000.00     275,000.00     275,000.00     275,000.00     275,000.00
 275,000.00     275,000.00     275,000.00     275,000.00     275,000.00     275,000.00     275,000.00     275,000.00     275,000.00     275,000.00




     136.74         136.74         136.74         136.74         136.74         136.74         136.74         136.74         136.74         136.74




      136.74         136.74         136.74         136.74         136.74         136.74         136.74         136.74         136.74         136.74
   74,863.26      74,863.26      74,863.26      74,863.26      74,863.26      74,863.26      74,863.26      74,863.26      74,863.26      74,863.26
1,565,614.80   1,640,478.06   1,715,341.32   1,790,204.58   1,865,067.84   1,939,931.10   2,014,794.36   2,089,657.62   2,164,520.88   2,239,384.14
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 Month          Month          Month          Month          Month          Month          Month          Month          Month          Month
  36             37             38             39             40             41             42             43             44             45

 350,000.00     350,000.00     350,000.00     350,000.00     350,000.00     350,000.00     350,000.00     350,000.00     350,000.00     350,000.00

 350,000.00     350,000.00     350,000.00     350,000.00     350,000.00     350,000.00     350,000.00     350,000.00     350,000.00     350,000.00

 275,000.00     275,000.00     275,000.00     275,000.00     275,000.00     275,000.00     275,000.00     275,000.00     275,000.00     275,000.00
 275,000.00     275,000.00     275,000.00     275,000.00     275,000.00     275,000.00     275,000.00     275,000.00     275,000.00     275,000.00




     136.74         136.74         136.74         136.74         136.74         136.74         136.74         136.74         136.74         136.74




      136.74         136.74         136.74         136.74         136.74         136.74         136.74         136.74         136.74         136.74
   74,863.26      74,863.26      74,863.26      74,863.26      74,863.26      74,863.26      74,863.26      74,863.26      74,863.26      74,863.26
2,314,247.40   2,389,110.66   2,463,973.92   2,538,837.18   2,613,700.44   2,688,563.70   2,763,426.96   2,838,290.22   2,913,153.48   2,988,016.74
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 Month          Month          Month          Month          Month          Month          Month          Month          Month          Month
  46             47             48             49             50             51             52             53             54             55

 350,000.00     350,000.00     350,000.00     350,000.00     350,000.00     350,000.00     350,000.00     350,000.00     350,000.00     350,000.00

 350,000.00     350,000.00     350,000.00     350,000.00     350,000.00     350,000.00     350,000.00     350,000.00     350,000.00     350,000.00

 275,000.00     275,000.00     275,000.00     275,000.00     275,000.00     275,000.00     275,000.00     275,000.00     275,000.00     275,000.00
 275,000.00     275,000.00     275,000.00     275,000.00     275,000.00     275,000.00     275,000.00     275,000.00     275,000.00     275,000.00




     136.74         136.74         136.74         136.74         136.74         136.74         136.74         136.74         136.74         136.74




      136.74         136.74         136.74         136.74         136.74         136.74         136.74         136.74         136.74         136.74
   74,863.26      74,863.26      74,863.26      74,863.26      74,863.26      74,863.26      74,863.26      74,863.26      74,863.26      74,863.26
3,062,880.00   3,137,743.26   3,212,606.52   3,287,469.78   3,362,333.04   3,437,196.30   3,512,059.56   3,586,922.82   3,661,786.08   3,736,649.34
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 Month          Month          Month          Month          Month
  56             57             58             59             60

 350,000.00     350,000.00     350,000.00     350,000.00     350,000.00

 350,000.00     350,000.00     350,000.00     350,000.00     350,000.00

 275,000.00     275,000.00     275,000.00     275,000.00     275,000.00
 275,000.00     275,000.00     275,000.00     275,000.00     275,000.00




     136.74         136.74         136.74         136.74         136.74




      136.74         136.74         136.74         136.74         136.74
   74,863.26      74,863.26      74,863.26      74,863.26      74,863.26
3,811,512.60   3,886,375.86   3,961,239.12   4,036,102.38   4,110,965.64
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Electrotek Corporation
Creditor Matrix by Class

Class

    1         Allowed Priority Claims other than Priority Tax or Wage Claims.   $      28,561.92
    2         Allowed Secured Claims of Carrollton/Farmers Branch ISD.          $       6,147.14
    3         Allowed Secured Claim of DJ Barbaria.                             $   9,500,000.00
    4         Allowed General Unsecured Claims.                                 $   3,808,299.66
    5         Allowed Insider Claims.
    6         Equity Interest Holders.
                                                                                                                                                                                        (C)ontingent
                                                                                                             Proof of Claim                          Scheduled Claims                  (U)nliquidated
                                                                                                                                                          Pri (P)                        (D)isputed
Ser. No.       Sched./POC Item No. Creditor                                          Class         POC No.      POC Claim Amount          Secured       NonPri (N)      Unsecured           (N)/A                            Notes                    Claims        Class Total



        107            3.82           McMaster-Carr Supply Co.                         1             10                        3,098.92                  P/N                2,587.53         N          Note: $989.89 is Priority Amount on POC          3,098.92
        179            3.154          Valley Labs Inc.                                 1             15                       25,463.00                  P/N               20,196.00         N          Note: $13,650.00 is Priority Amount on POC      25,463.00       28,561.92
          3           POC 03          Carrollton-Farmers Branch ISD                    2              3                                       6,147.14                                       N                                                           6,147.14        6,147.14
         23            2.03           Dhirajal Babaria 1/28/2020                       3                                                  1,685,000.00                                       N                                                       1,685,000.00
         22            2.02           Dhirajal Babaria 12/3/2019                       3                                                  1,315,000.00                                       N                                                       1,315,000.00
         21            2.01           Dhirajal Babaria 8/6/2020                        3                                                  6,500,000.00                                       N                                                       6,500,000.00    9,500,000.00
        171            3.146          ULINE                                            4              1                     8,270.00                     P/N                5,964.56         N          Note: $1870 is Priority Amount on POC            8,270.00
        165            3.140          The Tipler Corporation                           4              2                       294.22                     N                    294.22         N                                                             294.22
          4           POC 04          IRS                                              4              4                     2,339.07                     P                                   N                                                           2,339.07
        152            3.127          Staples                                          4              5                       358.59                     N                    358.59         N                                                             358.59
          6           POC 06          CAB Assignee of Hua Feng (Shenzhen) Co.          4              6                    22,243.07                     N                                   N                                                          22,243.07
          7           POC 07          JP Morgan Chase Bank, NA                         4              7                     2,578.35                     N                                   N                                                           2,578.35
          8           POC 08          Allen Woods & Associates                         4              8                    73,467.41                     N                                   N                                                          73,467.41
        148            3.123          Sid Grinker Restoration Inc.                     4              9                   130,586.37                     N                117,958.84         N                                                         130,586.37
         11           POC 11          JP Morgan Chase Bank, NA                         4             11                    10,325.29                     N                                   N                                                          10,325.29
         56            3.31           Chema Technology                                 4             12                    23,807.75                     N                 18,995.25         N                                                          23,807.75
         47            3.22           Bearings Incorporated - South                    4             13                       396.30                     N                    396.30         N                                                             396.30
        102            3.77           Lakeland Supply inc.                             4             14                     2,234.56                     N                  1,483.80         N                                                           2,234.56
        121            3.96           Nordson Corp / Nordson March                     4             16                     1,807.50                     N                  1,045.00         N                                                           1,807.50
         31            3.06           Airgas USA, LLC                                  4             17                     5,254.33                     N                  2,234.58         N                                                           5,254.33
         18           POC 18          Hagen Decorators, Inc.                           4             18                    76,000.00                     N                                   N                                                          76,000.00
        119            3.94           Nassco Inc.                                      4             19                     3,806.76                     N                  3,509.01         N                                                           3,806.76
        189            3.164          WIPFLI LLC                                       4             20                    10,400.00                     N                  9,400.00         N                                                          10,400.00
         27            3.02           Accusystems                                      4                                                                 N                    800.00         N                                                             800.00
         28            3.03           AGC Nelco America Inc.                           4                                                                 N                      3.00         N                                                               3.00
         29            3.04           Agilent Technologies                             4                                                                 N                  1,500.00         N                                                           1,500.00
         30            3.05           Ahmad & Guerard, LLP                             4                                                                 N                      0.00         N                                                               0.00
         32            3.07           Aismalibar North America                         4                                                                 N                  1,568.00         N                                                           1,568.00
         33            3.08           ALL4-PCB (North America) Inc.                    4                                                                 N                 10,375.14         N                                                          10,375.14
         34            3.09           Allfavor Technology (Hong Kong)                  4                                                                 N                 18,199.46         N                                                          18,199.46
         35            3.10           Allied High Tech Products, Inc.                  4                                                                 N                  6,282.02         N                                                           6,282.02
         36            3.11           Allworld Machinery Supply                        4                                                                 N                  2,839.00         N                                                           2,839.00
         37            3.12           Aluma-Tec Industries                             4                                                                 N                    109.00         N                                                             109.00
         38            3.13           Amazon Capital Services                          4                                                                 N                    650.79         N                                                             650.79
         39            3.14           American Solution for Business                   4                                                                 N                    664.04         N                                                             664.04
         40            3.15           Anode Products Co. Inc.                          4                                                                 N                    177.50         N                                                             177.50
         41            3.16           Aptean Inc.                                      4                                                                 N                  6,000.00         N                                                           6,000.00
         42            3.17           Arlon Electornic Materials                       4                                                                 N                 25,423.30         N                                                          25,423.30
         43            3.18           Artnet Pro Inc.                                  4                                                                 N                 20,000.00         N                                                          20,000.00
         44            3.19           AT&T                                             4                                                                 N                    920.00         N                                                             920.00
         45            3.20           Atradius Trade Credit                            4                                                                 N                  6,266.00         N                                                           6,266.00
         46            3.21           AV Tech / Tetra                                  4                                                                 N                      0.00         N                                                               0.00
         26            3.01           A-Z Refrigeration & HVAC                         4                                                                 N                 14,639.04         N                                                          14,639.04
         48            3.23           Benchmark Products                               4                                                                 N                  1,612.16         N                                                           1,612.16
         49            3.24           Blanca's Cleaning Services, LLC                  4                                                                 N                      0.00         N                                                               0.00
         50            3.25           Brecoflex Co, LLC                                4                                                                 N                    167.87         N                                                             167.87
         51            3.26           Buehler                                          4                                                                 N                  9,878.20         N                                                           9,878.20
         52            3.27           CA Picard, Inc.                                  4                                                                 N                  5,639.98         N                                                           5,639.98
         54            3.29           Carelparts                                       4                                                                 N                    938.85         N                                                             938.85
         55            3.30           Celtic Leasing                                   4                                                                 N                      0.00         N                                                               0.00
         57            3.32           Cintas Corporation                               4                                                                 N                  6,763.06         N                                                           6,763.06
         58            3.33           Circuit Solutions, LLC                           4                                                                 N                      0.00         N                                                               0.00
         59            3.34           City of Oak Creek                                4                                                                 N                 17,955.24         N                                                          17,955.24
         60            3.35           City of Oak Creek                                4                                                                 N                      0.00         N                                                               0.00
         61            3.36           Cole-Parmer                                      4                                                                 N                    288.46         N                                                             288.46
         62            3.37           Colonial Life                                    4                                                                 N                    789.91         N                                                             789.91
         63            3.38           Complete Office of Wisconsin                     4                                                                 N                     81.60         N                                                              81.60
         64            3.39           Crescent Data Devices, LLC                       4                                                                 N                    800.00         N                                                             800.00
         53            3.28           CRT Inc.                                         4                                                                 N                  1,012.48         N                                                           1,012.48
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 65   3.40    Current Inc.                                       4       N            1,833.13   N                       1,833.13
 66   3.41    Dallas Cooler Service                              4       N              399.77   N                         399.77
 68   3.43    Delta Dental of Wisconsin                          4       N            3,715.06   N                       3,715.06
 67   3.42    DeNora Tech LLC                                    4       N           15,000.00   N                      15,000.00
 69   3.44    Digi-Key Electronics                               4       N           10,082.46   N                      10,082.46
 70   3.45    Douglas C. Jeffery                                 4       N                0.00   N                           0.00
 71   3.46    ECEMS                                              4       N           12,338.70   N                      12,338.70
 72   3.47    Economy Lamp Co.                                   4       N              453.02   N                         453.02
 73   3.48    Equipment Technologies Inc.                        4       N              480.00   N                         480.00
 74   3.49    Excellon Acquisition LLC                           4       N           11,172.90   N                      11,172.90
 75   3.50    FedEX                                              4       N            1,894.37   N                       1,894.37
 76   3.51    Filter Technology, Inc.                            4       N              378.82   N                         378.82
 77   3.52    Fisher Scientific                                  4       N            5,057.44   N                       5,057.44
 78   3.53    Fox O'Neill & Shannon, SC                          4       N           13,985.60   N                      13,985.60
 79   3.54    Fred Levine Services Inc.                          4       N              710.00   N                         710.00
 80   3.55    French Oil Mill Machinery                          4       N           10,939.63   N                      10,939.63
 81   3.56    G&H Enterprises                                    4       N              630.00   N                         630.00
 82   3.57    Genesis Engineering Solutions                      4       N            2,000.00   N                       2,000.00
 83   3.58    Global Laminates Inc                               4       N            2,914.50   N                       2,914.50
 84   3.59    Global Machine and Maintenance                     4       N            1,057.40   N                       1,057.40
 85   3.60    GPR Wet Process Group                              4       N            3,000.00   N                       3,000.00
 86   3.61    Grainger                                           4       N              584.59   N                         584.59
 87   3.62    Grunau Co.                                         4       N                0.00   N                           0.00
 88   3.63    Harrington Industrial Plastics                     4       N            2,495.63   N                       2,495.63
 89   3.64    Hitachi High-Tech                                  4       N            4,000.00   N                       4,000.00
 90   3.65    Humana                                             4       N                0.00   N                           0.00
 91   3.66    Hydrite Chemical Co.                               4       N           14,401.91   N                      14,401.91
 92   3.67    IEC USA Inc.                                       4       N                0.00   N                           0.00
 93   3.68    Indelco Plastics Corp                              4       N              815.93   N                         815.93
 94   3.69    Insulectro                                         4       N           76,739.55   N                      76,739.55
 95   3.70    ITC intercircuit                                   4       N            2,960.09   N                       2,960.09
 96   3.71    James Imaging Systems Inc.                         4       N            1,197.43   N                       1,197.43
 97   3.72    Jeff's Fast Freight                                4       N               63.43   N                          63.43
 98   3.73    JM Brennan Inc.                                    4       N            3,916.27   N                       3,916.27
 99   3.74    Kinwong Electronic Ltd.                            4       N        1,563,251.89   N                   1,563,251.89
100   3.75    Kyocera Precision Tools, Inc.                      4       N            2,925.00   N                       2,925.00
101   3.76    Laird Technologies, Inc.                           4       N              547.20   N                         547.20
103   3.78    Life Insurance North America                       4       N            2,086.90   N                       2,086.90
104   3.79    Macdermid Inc.                                     4       N           36,070.95   N                      36,070.95
105   3.80    Mackey Technical Services LLC                      4       N            3,987.01   N                       3,987.01
106   3.81    Matrix USA Inc.                                    4       N           13,477.37   N                      13,477.37
108   3.83    Meridith's Culligan Water                          4       N            6,757.24   N                       6,757.24
109   3.84    Metalworld, Inc.                                   4       N              399.72   N                         399.72
110   3.85    Metrohm USA Inc.                                   4       N            5,213.00   N                       5,213.00
111   3.86    Michael J. Swerdlow                                4       N                0.00   N                           0.00
112   3.87    Micronutrients                                     4       N            3,777.40   N                       3,777.40
114   3.89    Midwest Printed Circuit Service                    4       N            1,020.00   N                       1,020.00
115   3.90    Midwest Sign and Screen Printing                   4       N              496.27   N                         496.27
116   3.91    Milwaukee County Treasurer's Office                4       N                0.00   N                           0.00
117   3.92    Milwaukee metro Sewerage                           4       N            1,556.00   N                       1,556.00
113   3.88    Modwest Accurate Grinding Service                  4       N              920.00   N                         920.00
118   3.93    MRA the Management Association                     4       N           24,183.75   N                      24,183.75
120   3.95    National Technical Systems                         4       N            1,000.00   N                       1,000.00
122   3.97    North Central Insulation                           4       N           76,000.00   N                      76,000.00
123   3.98    Oak Creek Water & Sewer                            4       N           37,637.18   N                      37,637.18
124   3.99    Occupational Health Centers of the Southwest       4       N               61.50   N                          61.50
125   3.100   Olsen Safety Equipment Corp.                       4       N              422.67   N                         422.67
126   3.101   Orbotech Inc.                                      4       N           38,750.00   N                      38,750.00
127   3.102   OSI Environmental Inc.                             4       N              150.00   N                         150.00
128   3.103   Owens Indstries Inc.                               4       N            9,806.00   N                       9,806.00
129   3.104   Patriot Partners LLC                               4       N            1,000.00   N                       1,000.00
130   3.105   Pawnee Lease                                       4       N                0.00   N                           0.00
131   3.106   Paycom                                             4       N                0.00   N                           0.00
132   3.107   Payment Processing Center                          4       N               40.00   N                          40.00
133   3.108   Pieper Electric Inc.                               4       N           21,495.22   N                      21,495.22
134   3.109   Pluritech North America Ltd.                       4       N              575.00   N                         575.00
135   3.110   Praxair Distributoin Inc.                          4       N              443.56   N                         443.56
136   3.111   Quadient Finance USA Inc.                          4       N              152.80   N                         152.80
137   3.112   Recycle Technologies, Inc.                         4       N              136.95   N                         136.95
138   3.113   Redishred Acquisision Inc. DBA Proshred Security   4       N               76.30   N                          76.30
139   3.114   Rhys Robert Petricek                               4       N              373.90   N                         373.90
140   3.115   River Run Computers Inc.                           4       N            1,000.00   N                       1,000.00
141   3.116   RMS Quality Service                                4       N            6,696.82   N                       6,696.82
142   3.117   Rogers Corporation                                 4       N           40,580.97   N                      40,580.97
143   3.118   SAATI Americas Coporation                          4       N          471,351.00   N                     471,351.00
144   3.119   Saltco                                             4       N              680.17   N                         680.17
145   3.120   Sentry Insurance                                   4       N            6,486.47   N                       6,486.47
146   3.121   Service Filtration Corp                            4       N              161.12   N                         161.12
147   3.122   Shenzhen HuaFeng EEDM Co. LTD                      4       N           22,243.09   N                      22,243.09
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149   3.124   Sigma-Aldrich Inc                 4                       N             421.69   N                            421.69
150   3.125   SPSI Inc                          4                       N           2,766.54   N                          2,766.54
151   3.126   ST&S Group                        4                       N           3,350.33   N                          3,350.33
153   3.128   State of Wisconsin                4                       N               0.00   N                              0.00
154   3.129   State of Wisconsin                4                       N               0.00   N                              0.00
155   3.130   Steven L. Dutton                  4                       N               0.00   N                              0.00
156   3.131   Taiyo America, Inc.               4                       N          19,045.80   N                         19,045.80
157   3.132   Tapecase Ltd.                     4                       N             389.82   N                            389.82
158   3.133   Tara M. Dunn                      4                       N             860.69   N                            860.69
159   3.134   TCT Circuit Supply Inc.           4                       N          15,084.46   N                         15,084.46
160   3.135   Technic Inc.                      4                       N          12,471.77   N                         12,471.77
161   3.136   Test Equity, LLC                  4                       N             379.11   N                            379.11
162   3.137   Texas Technologies                4                       N             283.24   N                            283.24
163   3.138   The Cit Group                     4                       N             282.00   N                            282.00
164   3.139   The Robbins Firm                  4                       N               0.00   N                              0.00
166   3.141   TKO Miller, LLC                   4                       N               0.00   N                              0.00
167   3.142   Trester Hoist & Equipment         4                       N             525.00   N                            525.00
168   3.143   Tri State Equipment               4                       N             147.76   N                            147.76
169   3.144   UCAMCO USA                        4                       N           1,250.00   N                          1,250.00
170   3.145   UL LLC                            4                       N           2,865.75   N                          2,865.75
172   3.147   Ultra Tool & Manufacturing        4                       N             327.32   N                            327.32
173   3.148   United Parcel Service             4                       N           1,187.01   N                          1,187.01
174   3.149   Unites States Plastic Corp        4                       N           1,093.09   N                          1,093.09
175   3.150   UPS Freight                       4                       N             431.69   N                            431.69
176   3.151   USA Microcraft Inc.               4                       N           1,620.00   N                          1,620.00
177   3.152   Utphall Construction LLC          4                       N           2,513.00   N                          2,513.00
178   3.153   Uyemura International Corp        4                       N          45,918.28   N                         45,918.28
180   3.155   Ventec USA LLC                    4                       N             170.30   N                            170.30
181   3.156   Veolia Environmental Services     4                       N          25,764.97   N                         25,764.97
182   3.157   VWR International LLC             4                       N           9,072.19   N                          9,072.19
183   3.158   Warrender Ltd                     4                       N             868.40   N                            868.40
184   3.159   Waste Management                  4                       N           1,630.70   N                          1,630.70
185   3.160   WE Energies                       4                       N          80,454.09   N                         80,454.09
186   3.161   Whitlock                          4                       N           2,169.97   N                          2,169.97
187   3.162   William/Reid                      4                       N             244.92   N                            244.92
188   3.163   Wiper Tech                        4                       N             508.00   N                            508.00
190   3.165   Wisconsin Department of Justice   4                       N               0.00   N                              0.00
191   3.166   Woods & Associates                4                       N          65,617.47   N                         65,617.47
192   3.167   Yan Tat Technology Limited        4                       N          74,536.38   N                         74,536.38
193   3.168   Zorn Compressor & Equipment       4                       N               0.00   N                              0.00
 25   2.02    Accrued unpaid vacation           4                       P         158,246.14   N                        158,246.14
 24   2.01    Unpaid employee wages             4                       P         130,080.06   N                        130,080.06   3,808,299.66
